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 1                                                                      HONORABLE LAUREN KING

 2

 3

 4

 5
                      IN THE UNITED STATES DISTRICT COURT FOR THE
 6                    WESTERN DISTRICT OF WASHINGTON AT SEATTLE
 7

 8       BEVERLY JANE CARY,
                                                          Dist Ct. Case 2:22-cv-00538-LK
 9                                Debtor,
                                                          Chapter 13 Case No. 20-12450 TWD
10
         BEVERLY JANE CARY                                Adversary Case No.
11
                            vs.                           PLAINTIFF’S MOTION FOR LEAVE TO
12                                                        FILE THIRD AMENDED COMPLAINT
13
         PATCH SERVICES, LLC d/b/a
         NOAH; PATCH HOMES, INC.;
14       FIRST AMERICAN TITLE                             NOTED FOR CONSIDERATION:
         INSURANCE COMPANY LENDERS                        June 24, 2022
15       ADVANTAGE,

16                                Defendants.
17                             I. INTRODUCTION / RELEVANT FACTS
18
            Defendant First American Title Insurance Company (“FATIC”) asserts in their Motion to
19
     Dismiss for Failure to State a Claim, that the Second Amended Complaint (the “SAC”) filed on
20
     March 4, 2022 was filed inappropriately without leave of court (Dkt No. 10 at p. 2), This
21
     argument is also made in FATIC’s Motion to Strike Second Amended Complaint (Dkt No 12).
22
     Additionally, FATIC argues in its Motion to Dismiss for Failure to State a Claim that the Sixth
23
     Cause of Action for violation of the Escrow Agent Registration Act (the “ERA”), RCW 18.44 et
24

25
     seq., is not an actionable claim for a private individual, that the SAC does not allege any


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     fraudulent allegations and that a pure violation of the ERA statute cannot be a per se violation of
 1
     the Washington’s Consumer Protection Act (“CPA”), RCW 19.86 et seq., (Id. at p. 5 It further
 2

 3   alleges that claims under the Truth in Lending Act (“TILA”), 15 U.S.C. § 1601, et seq. fail as a

 4   matter of law ((Id. at p. 5). To address these issues, Plaintiff moves for leave to file her Third

 5   Amended Complaint, to add additional facts that will clarify her claims against FATIC and Patch

 6   Services, LLC d/b/a Noah and Patch Homes, Inc. (the “Patch Defendants”) related to the ERA,
 7   the CPA violations based on the unlawful imposition of the mandatory arbitration clause
 8
     prohibited under TILA, and to substantiate Plaintiff’s damages and injury claims. Ms. Cary’s
 9
     Motion seeking leave to amend now should simplify the Court’s review of FATIC’s Motion to
10
     Dismiss, as it should resolve a number of issues addressed in that Motion.
11
                                            II. BACKGROUND
12
        A. Procedural History.
13
            Plaintiff filed her Complaint in this case on January 18, 2022 in the Western District of
14
      Washington, U.S. Bankruptcy Court as an Adversary Proceeding under Adv. Case No. 2-01000-
15

16    TWD. See Ex. 1 to Request for Judicial Notice i. On February 19, 2022, Plaintiff filed an

17    Amended Complaint which in hindsight should have been filed as a praecipe, as it was only

18    filed to make clear that the Complaint was also an Objection to Claim under the Bankruptcy

19    Code along with other minor technical changes. Id., Ex. 2 at p. 2. Thereafter, the SAC was filed
20
      on March 4, 2022 with substantive changes and only that version of the Complaint was served
21
      on all Defendants on March 09, 2022. Id., Ex. 3. A review of FRBP 7015, which incorporates
22
      FRCP 15, only requires a Motion for Leave to Amend a Complaint: (A) 21 days after serving it,
23
      or (B) if the pleading is one to which a responsive pleading is required 21 days after service of a
24
      responsive pleading or 21 days after service of a motion under Rule 12(b), (e), or (f), whichever
25


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      is earlier. FRBP 7015(a)(1). Since none of the Defendants had been served when the SAC was
 1
      filed, no responsive pleadings had been filed and only thirteen (13) days had passed since the
 2

 3    filing of the first Amended Complaint. it did not appear to Plaintiff that a motion for leave to

 4    amend was required. Id. After the SAC was filed, Plaintiff specifically referenced it as a

 5    “Second Amended Complaint” in a Letter Requesting Reisuance of the Summons. Id., Ex 5. A

 6    second Summons was issued by the Court on March 07, 2022 and service was initiated on
 7    behalf of Plaintiff right away. Id. Ex. 5. Since then, the parties conferred and stipulated to the
 8
      Allowance of Withdrawal of the Reference to this Court on April 15, 2022. Id., Ex. 6. This
 9
      Court entered its Order withdrawing the reference on May 18, 2022. Id., Ex. 7. During this time
10
      period, the Patch Defendants also filed an Answer to the SAC with the Bankruptcy Court on
11
      April 29, 2022. Id., Ex. 8.
12
        B. Changes in the Third Amended Complaint.
13
           The Proposed Third Amended Complaint (“TAC”), attached hereto as Exhibit A, includes
14
      language edits in the caption and the first paragraph to clarify the intended claims under the
15

16    ERA, and changes to clarify the role of FATIC in the transaction with the Plaintiff. See Exhibit

17    A at ¶¶ 2.28 and 2.29. Additional factual details about the damages and injury asserted by

18    Plaintiff are clarified, along with substantial changes to the Sixth Cause of Action for violations

19    of the ERA to make clear that the violations of the CPA asserted were not pled as per se CPA
20
      violations. See Id. at ¶¶ 3.29 and 3.30. See also, Exhibit B, which is a red-lined version of the
21
      TAC. Notably, there was no per se language used in that Cause of Action in the SAC, but since
22
      FATIC apparently read that into the pleadings, Plaintiff sought to make this even more clear.
23
      Other substantive changes include some clarifying language in the Ninth Cause of Action
24
      regarding FATIC’s CPA violation regarding the imposition of an arbitration clause. See Id. at ¶¶
25


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         3.44 and 3.47. With these changes, Plaintiff now timely requests leave to file this Third
 1
         Amended Complaint.
 2

 3                                             III. ARGUMENT

 4            When more than twenty-one days have passed since service of the original complaint, or

 5   when more than twenty-one days have passed after service of a responsive pleading or after service

 6   of a motion under Fed. R. Civ. P. 12(b), (e), or (f), a plaintiff may amend his or her pleading only
 7   with the opposing party’s consent or upon obtaining leave of court. Fed. R. Civ. P. 15(a)(2).
 8
              Because there has not yet been an Order entered in this case setting a case schedule with a
 9
     deadline for amended pleadings, the only civil rule that applies to this Motion is Rule 15. 1 “Under
10
     Rule 15, the court should ‘freely give’ leave to amend a pleading ‘when justice so requires.’”
11
     Espinoza, 2019 WL 5079950, at *2. This policy is “to be applied with extreme liberality.”
12
     Eminence Capital, LLC v. Aspeon, Inc., 316 F.3d 1048, 1051 (9th Cir. 2003).
13
              Five factors are used to assess the propriety of a motion for leave to amend: (1) bad faith,
14

15
     (2) undue delay, (3) prejudice to the opposing party (4) futility of amendment, and (5) whether the

16   party has previously amended its pleading. Espinoza, 2019 WL 5079950, at *3 (citation omitted).

17   Of these factors, the consideration of prejudice to the opposing party carries the greatest weight.

18   Eminence Capital, LLC, 316 F.3d at 1052 (9th Cir. 2003). 2 If a court does not find prejudice or a

19   “strong showing,” there is a “presumption” under Rule 15 in favor of granting leave to amend. Id.
20
     Prejudice must be substantial for leave to be denied. Morongo Band of Mission Indians v. Rose,
21
     1
       Where there has been an amended pleading deadline established by a case scheduling order,
22   under Fed. R. Civ. P. 16, a party who seeks to amend its pleadings subsequent to that deadline
     must show good cause to justify a modification of the case schedule. Espinoza v. City of Seattle,
23
     No. C17-1709JLR, 2019 WL 5079950, at *2 (W.D. Wash. Oct. 9, 2019).
     2
24     Delay alone is generally insufficient justification for denying a motion to amend unless the court
     also specifically finds prejudice to the opposing party, bad faith of the party seeking to amend, or
25   futility of amendment. Bowles v. Reade, 198 F.3d 752, 758 (9th Cir. 1999).

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     893 F.2d 1074, 1079 (9th Cir. 1990).
 1
            A.      Plaintiff Is Entitled To Amend Her Complaint Because There is No Evidence
 2

 3   of Bad Faith or Dilatory Motive.

 4          The Defendants will suffer no prejudice if the Court grants Plaintiff’s request to file her

 5   Third Amended Complaint. Discovery has not commenced, and there is still no case scheduling

 6   order, discovery deadline, or trial date. The FATIC Defendants have not yet answered Plaintiff’s
 7   SAC and need not answer it pending the Court’s resolution of this Motion. The Patch Defendants
 8
     did file an Answer on April 29, 2022 in the bankruptcy case (Dkt. 13), but they would be
 9
     permitted to amend their Answer if this Court grants Plaintiff’s Motion. FRCP 15(a)(3).
10
     Additionally, in light of FATIC’s pending Rule 12(b)(6) motion, the Court’s approval of this
11
     Mmotion may alleviate many of the issues in the that motion and in any event, under the Rule
12
     12(b)(6), leave to amend should be liberally granted. For Rule 12(b)(6) motions, a court must
13
     assume the truth of the facts pled in the complaint and construe all reasonable inferences drawn
14
     from these facts in the plaintiff's favor. See Gen. Conference Corp. of Seventh–Day Adventists v.
15

16   Seventh–Day Adventist Congregational Church, 887 F.2d 228, 230 (9th Cir.1989).

17          B.      Plaintiff Is Entitled To Amend Her Complaint Because Defendants Will Not

18   Be Unduly Prejudiced.

19                  Defendants will not be prejudiced by Plaintiff’s TAC because the liberal concept
20
      of the complaint is to make the Defendants aware of the facts. Accordingly, a plaintiff is not
21
      bound by the legal theories originally alleged unless a defendant is prejudiced on the merits. The
22
      party opposing the amendment bears the burden of showing prejudice. Public policy favors
23
      disposition of cases on the merits. Hernandez v. City of El Monte, 138 F.3d 393, 399 (9th
24
      Cir.1998). Here the factual allegations were known and the allegations were simply clarified
25


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      and pled with more specificity. Defendants also cannot be prejudiced or caught off guard by the
 1
      new facts alleged by Plaintiff in the proposed TAC, since Defendants have first-hand knowledge
 2

 3    of the roles that they played in Plaintiff’s transaction. Even should Defendants assert some

 4    prejudice resulting from Plaintiff’s proposed amendments, the level of prejudice is less than

 5    compelling given the fact that the Defendants would be considerably disadvantaged if FATIC

 6    were not a party to this lawsuit since its role is significant in the actions complained of. Further,
 7    Defendants will not be prejudiced because Plaintiff’s proposed amendments do not impair their
 8
      ability to proceed to trial nor threatento interfere with the rightful decision of the case. Malone
 9
      v. United States Postal Serv.,833 F.2d 128, 131 (9th Cir.1987). Thus, this factor weighs in favor
10
      of allowing Plaintiff’s amendment.
11
            C.      Plaintiff Is Entitled To Amend Her Complaint Because Those Amendments
12
      Would Not be Futile.
13
            Plaintiff’s proposed amendments are not futile. As the TAC makes clear, Plaintiff has
14

15
     plausible allegations that are clarified in this TAC and address many of the issues in FATIC’s

16   Motion to Dismiss and approval of this motion would serve judicial economy. See Exhibit A. Also,

17   courts do not look to the validity of a proposed pleading in deciding whether to grant leave to

18   amend. SAES Getters S.P.A. v. Aeronex, Inc. 219 F.Supp.2d 1081, 1086 (SD CA 2002) (citing

19   text). In determining futility, courts apply the same standard governing Rule 12(b)(6) motions to
20
     dismiss: i.e., a proposed amendment is futile if it “does not plead enough to make out a plausible
21
     claim for relief.” HSBC Realty Credit Corp. (USA) v. O'Neill (1st Cir. 2014) 745 F3d 564, 578.
22
     Granting leave to amend and effectively mooting out much of the Rule 12(b)(6) motion is
23
     appropriate if the complaint's “deficiencies can be cured with additional allegations that are
24
     ‘consistent with the challenged pleading’ and that do not contradict the allegations in the original
25


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     complaint.” United States v. Corinthian Colleges, 655 F3d 984, 995, (9th Cir. 2011).
 1
            In this case, leave to amend is warranted because any deficiencies can be cured with
 2

 3    Plaintiff’s additional allegations that are consistent with and that do not contradict the

 4    allegations in the previous Amended Complaints.

 5          D.      Plaintiff Is Entitled To Amend Her Complaint Because There Is No Evidence

 6    of Repeated Failure to Cure Deficiencies.
 7               Plaintiff’s First Amended Complaint was filed merely to correct a defective case
 8
      caption and to add an allegation that the Complaint was meant to also be an Objection to a filed
 9
      Proof of Claim in Bankruptcy Court. The SAC was the only prior substantive amendment of the
10
      Complaint. Moreover, the amendments were filed first and only the SAC was served on the
11
      Defendants. Any failure to previously ask the Court for leave to amend was due to interpretation
12
      of FRBP 7015 by Plaintiff’s counsel which incorporates FRCP 15. If the Court finds that was a
13
      misreading of that rule, this Motion for Leave to Amend should cure any defect and avoid any
14
      procedural irregularities. Thus, there is no basis to conclude that Plaintiff has repeatedly failed
15

16    to cure deficiencies by previous amendments. Accordingly, in the interest of justice, this Court

17    should grant Plaintiff’s Motion for Leave to File the proposed TAC. The grant of this motion is

18    particularly appropriate here, given the clear absence of any substantial reason to deny leave to

19    amend.
20
                                             IV. CONCLUSION
21
            For the foregoing reasons, Plaintiff requests that the Court grant her leave to file the
22
      attached Third Amended Complaint.
23
            //
24
            //
25


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          DATED: June 2, 2022
 1
          Respectfully submitted by:
 2

 3        LAW OFFICE OF MARK CLURE, PS

 4
          By: _/s/ Mark C. McClure____________
 5             Mark C. McClure, WSBA #24393
               Attorney for Plaintiff
 6
           LAW OFFICES OF MELISSA A. HUELSMAN, P.S.
 7
           By: /s/Melissa A. Huelsman
 8              Melissa A. Huelsman, WSBA #30935
                Attorney for Plaintiff
 9

10         HENRY & DEGRAAFF, PS

11         By: /s/Christina L. Henry
                Christina L. Henry, WSBA #31273
12              Attorney for Plaintiff
13

14   i
         Request for Judicial Notice filed by Plaintiff herewith.

15

16

17

18

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23

24

25


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 1
                                                 THE HONORABLE LAUREN KING
 2

 3

 4

 5
               IN THE UNITED STATES DISTRICT COURT FOR THE
 6
               WESTERN DISTRICT OF WASHINGTON AT SEATTLE
 7

 8   BEVERLY JANE CARY,              Dist Ct. Case 2:22-cv-00538-LK

 9                         Debtor.
                                     Chapter 13 Case No. 20-12450 TWD
10
                                     Adversary Case No.
11   BEVERLY JANE CARY,
                                     [PROPOSED]
12                    Plaintiff,     THIRD AMENDED COMPLAINT:
13                    v.             (1) TO DETERMINE NATURE AND EXTENT OF
14                                   LIEN, IF ANY AND TO QUIET TITLE;
     PATCH SERVICES, LLC d/b/a       (2) VIOLATION OF RCW 31.04, et. seq., WA
15   NOAH; PATCH HOMES, INC.;        CONSUMER LOAN ACT, WHICH
     FIRST AMERICAN TITLE            CONSTITUTES A PER SE VIOLATION OF THE
16   INSURANCE COMPANY               WA CONSUMER PROTECTION ACT, RCW
     LENDERS ADVANTAGE,              19.86, et seq.;
17
                                     (3) WA USURY STATUTE, RCW 19.52, et seq.,
                      Defendants.    WHICH CONSTITUTES A PER SE VIOLATION
18
                                     OF THE WA CONSUMER PROTECTION ACT,
19                                   RCW 19.86, et seq.
                                     (4) WA CONSUMER PROTECTION ACT, RCW
20
                                     19.86, et seq.;
21                                   (5) INTENTIONAL AND NEGLIGENT
                                     MISREPRESENTATION;
22                                   (6) CONSUMER PROTECTION ACT, RCW 19.86,
                                     et seq., VIOLATION BASED UPON VIOLATIONS
23                                   OF THE WA ESCROW AGENT REGISTRATION
                                     ACT, RCW 18.44, et seq. AND OTHER ACTIONS;
24
                                     (7) VIOLATIONS OF THE TRUTH IN LENDING
25                                   ACT, 15 U.S.C. § 1601, et seq.;
                                     (8) VIOLATIONS OF THE TRUTH IN LENDING
26                                   ACTION, 15 U.S.C. § 1639c(e)(3);
27                                                               LAW OFFICES OF
                                                        MELISSA A. HUELSMAN,            P.S.
                                                           705 SECOND AVENUE, SUITE 606
                                                            SEATTLE, WASHINGTON 98104
                                                            TELEPHONE: (206) 475-4304
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 1                                               (9) WA CONSUMER PROTECTION ACT, RCW
                                                 19.86, et seq. RE: UNLAWFUL ARBITRATION
 2                                               CLAUSE;
                                                 (10) OBJECTION TO CLAIM 11
 3

 4

 5            COMES NOW Debtor and Plaintiff Beverly Jane Cary to pursue her claims that
 6   Defendants’ joint and several acts constituted violations of numerous Washington statutes,
 7
     including the Consumer Loan Act, RCW 31.04, et seq. (“CLA”), which constitutes a per se
 8
     violation of the Washington Consumer Protection Act (“CPA”), RCW 19.86, et seq.; stand
 9
     alone violations of the Consumer Protection Act, RCW 19.86, et seq., including a violation
10

11   which is related to violations of the Escrow Registration Agent Act, RCW 18.44, et seq. and

12   other actions; violations of the Usury statute, RCW 19.52, et seq.; Intentional and Negligent

13   Misrepresentation; to Quiet Title as against the PATCH Defendants’ unlawful lien; violations
14   of the Truth in Lending Act, 15 U.S.C. § 1601, et seq., including 15 U.S.C. § 1639c(e)(3) and
15
     form the basis for her Objection to Claim and avoidance of the PATCH Defendants’ Deed of
16
     Trust.
17
                            I. PARTIES, JURISDICTION AND VENUE
18

19            1.1   Defendant PATCH HOMES, INC d/b/a NOAH, referred to herein as

20   (“PATCH”) was formed under the laws of the state of Delaware. Defendant PATCH was not

21   registered with the Washington Secretary of State as a foreign corporation until September 5,
22
     2019. Its nature of business was listed as “Home Equity”. It became inactive on January 5,
23
     2021 due to not filing the requisite documentation with the Washington Secretary of State.
24
     Defendant PATCH is not licensed with the Washington Department of Financial Institutions
25
     (“DFI”) as a consumer lender, as required by RCW 31.04.025(1); 31.04.035(1). Defendant
26

27                                                                              LAW OFFICES OF
                                                                       MELISSA A. HUELSMAN,            P.S.
                                                                          705 SECOND AVENUE, SUITE 606
                                                                           SEATTLE, WASHINGTON 98104
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 1   PATCH did register with the Washington Department of Revenue but there are no records

 2   indicating it has ever paid taxes for conducting business in the State of Washington.
 3
            1.2     Defendant PATCH SERVICES, LLC (“Patch Services”) is a Delaware limited
 4
     liability company that was registered with the Washington Secretary of State as a foreign LLC
 5
     on March 9, 2021. Its nature of business is listed as “Financial Servicers Provider”. Defendant
 6
     Patch Services is not licensed by Washington DFI as a consumer lender or loan servicer.
 7

 8          Defendants PATCH and Patch Services appear to interchangeably use their names in

 9   the subject loan documents referring to themselves or being referred to as either “lender” or
10   “investor”.
11
            1.3     Defendant FIRST AMERICAN TITLE INSURANCE COMPANY LENDERS
12
     ADVANTAGE (“Lenders Advantage”) appears to be licensed in Washington state with the
13
     Office of the Insurance Commissioner using only the name FIRST AMERICAN TITLE
14

15   COMPANY. It acted as an escrow agent in connection with the loan closing of the subject

16   transaction. Ms. Cary will be investigating its licensing in Washington state to make certain

17   that it is compliant such that it could act as an escrow agent in Washington. In connection with
18   that closing, Defendant Lenders Advantage required Beverly to sign an Escrow Agreement
19
     which includes a mandatory arbitration clause. Mandatory arbitration clauses are expressly
20
     prohibited under federal law in connection with residential mortgage loans which are the
21
     principal dwelling of the borrower. Other entities in the making of the loan, such as escrow
22

23   companies, cannot assist lenders in trying to avoid that requirement by including a mandatory

24   arbitration clause in other contractual terms.

25                  1.4     Jurisdiction. This adversary proceeding is commenced pursuant to BR
26
     7001 et seq and 11 U.S.C §§ 502 (b)(1) and 506 (d). Although an adversary proceeding brought
27                                                                              LAW OFFICES OF
                                                                       MELISSA A. HUELSMAN,            P.S.
                                                                          705 SECOND AVENUE, SUITE 606
                                                                           SEATTLE, WASHINGTON 98104
                                                                           TELEPHONE: (206) 475-4304
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 1   as an objection to claim with a counterclaim is a core proceeding under 28 U.S.C. §§

 2   157(b)(2)(B), (K) and/or (O) with non-core matters. Since the issues raised in this adversary
 3
     proceeding include counterclaims that go beyond resolution of the claim itself, this matter is a
 4
     non-core claim that lies beyond the scope of the creditor’s proof of claim. Thus, outside of the
 5
     bankruptcy context, many of the claims would not otherwise require adjudication in an Article
 6
     III Court. See, Stern v. Marshall, 564 U.S. 462, 496-98 (2011) (finding that a bankruptcy court
 7

 8   had no constitutional power to evaluate the debtor's common law tort counterclaims because

 9   such claims were beyond the scope of the creditor's proof of claim and were claims of a nature
10   that required an Article III court's adjudication).
11
            1.5     Jurisdiction. The Plaintiff is also requesting a jury trial and does not consent to
12
     have the jury matters heard in bankruptcy court and does not waive her rights. Granfinanciera,
13
     S.A. v. Nordberg, 492 U.S. 33, 41 (1989).
14

15          1.6     Venue. Venue is proper pursuant to 28 U.S.C §§ 1408 and 1409.

16                                               II. FACTS

17          2.1     Beverly is a single woman who has lived in King County for most of her life.
18   She has one daughter, Alycia, who is currently 34 years old. Alycia’s son Kameron is now 7
19
     years old and been diagnosed as autistic. The two of them have lived with Beverly since 2015.
20
            2.2     She worked for Delta Airlines as flight attendant for 31 years and she retired on
21
     December 1, 2001, after receiving a payout offer from Delta following the September 11
22

23   crashes. She received a monthly pension payment from Delta until she reached the age of 62

24   when it was reduced due to her beginning to receive Social Security. She still receives some of

25   her pension income along with her Social Security, but her income is not substantial. Between
26
     the ages of 52 and 62, she also worked jobs at Home Depot, Chicos and the like to earn some
27                                                                               LAW OFFICES OF
                                                                       MELISSA A. HUELSMAN,             P.S.
                                                                           705 SECOND AVENUE, SUITE 606
                                                                            SEATTLE, WASHINGTON 98104
                                                                            TELEPHONE: (206) 475-4304
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 1   extra money and increase future Social Security earnings.

 2          2.3     In 1998, Beverly had a custom home built for her in Maple Valley, which she
 3
     sold in 2006 in order to downsize. She made a profit of approximately $210,000.00. She
 4
     decided to rent for awhile and in 2007, she purchased her current residence, located at 27834
 5
     31st Place South, Auburn, WA 98001-1819 (“Property”) by putting down $150,000.00. She
 6
     obtained a traditional mortgage to make the purchase and made the monthly payments while
 7

 8   living in it until September 2009, when she moved to Florida to be near her closest friend and

 9   take a break from the Pacific Northwest. She could not sell the Property at that time without
10   taking a significant loss due to the collapsed housing market. Instead, she rented it out and used
11
     those funds to make the mortgage payments.
12
            2.4      Beverly returned to Washington in 2012 because her daughter was talking about
13
     getting married and it was time to come home. She rented a place while continuing to rent out
14

15   the Property until August 2015. In September 2015, Alycia, Kameron and Alycia’s husband

16   Rick moved in. Later in 2015, Beverly refinanced the Property in order to reduce her interest

17   rate from 6.35% to 4.56%. This resulted in a new mortgage with a balance of $110,000.00 and
18   a monthly payment of $879.00.
19
            2.5     By 2018, Beverly had very significant credit card debt and needed to get it under
20
     control, so she refinanced the Property again and ended up with a payment of $1,150.00 per
21
     month after she was paid off approximately $50,000.00 in other debt.
22

23          2.6     The reason Beverly was struggling financially and incurring significant credit

24   card debt is because of unlawful charges incurred in her name by her daughter Alycia. Even

25   after the 2018 refinance, her credit card debt and balance on her car loan was approximately
26
     $62,000.00, some of which was attributable to fraudulent charges by Alycia on her credit cards
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 1   and from Alycia stealing her debit card and making unauthorized withdrawals.

 2          2.7     Alycia’s drug problems began when she fell at work and seriously injured her
 3
     back. She had unsuccessful back surgeries, including a failed spinal fusion in 2013. As a result,
 4
     she became addicted to pain killers, which began to destroy her life. Beverly did not realize the
 5
     problems Alycia was having with the drugs until she moved into her home in September 2015.
 6
     Once Alycia and her husband moved in with her, they began borrowing money from her for
 7

 8   legitimate purposes, but it also became apparent that Alycia was also using the money for drugs

 9   as well. Beverly found herself devastated by her daughter’s addiction and her efforts to deal
10   with it, but also the financial damage Alycia’s actions continued to cause Beverly.
11
            2.8     Compounding Beverly’s stress was that Alycia went to rehab once and a detox
12
     place three times beginning in 2020 and nothing worked to stop her addiction. Alycia and Rick
13
     separated about a year after they moved in and they were fighting over custody of her grandson
14

15   Kameron. Beverly helps care for Kameron and he has some serious problems. He was born

16   premature with lung damage and has been diagnosed as autistic. All of this just makes the

17   pressures on her almost unbearable.
18          2.9     Beverly’s financial problems became exacerbated as Alycia continued to use her
19
     credit and debit cards without permission and in spite of Beverly’s efforts to prevent her from
20
     having access to them. She also stole checks and gained access to Beverly’s VENMO account
21
     to steal more money. Alycia kept running up very significant debt in Beverly’s name again and
22

23   again. While Beverly was stressing out in 2019 about how she would ever be able to pay off the

24   debt and knowing that it was unlikely she could obtain a traditional refinance, she was attracted

25   by a mailing she received from PATCH Defendants. The appeal of the advertisement from
26
     Defendant PATCH was that the loan could close in two to three weeks and the promise of
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 1   providing a loan to people who could not get traditional loans. Because Beverly was desperate

 2   for a loan that would relieve the financial pressures she was facing, a quick closing without
 3
     traditional underwriting was very attractive.
 4
            2.10    Alycia became aware that Beverly was considering entering into the loan with
 5
     PATCH Defendants and was pressuring her to get it. She was desperate and believed that no
 6
     other options that included saving her home existed. She was also about to turn 70 and
 7

 8   believed she wouldn’t be able to work her way out of her desperate financial situation.

 9   Defendant PATCH offered very slick advertising and enticed Beverly into reaching out. Bev
10   called the telephone number on the Defendant PATCH mailer but does not specifically
11
     remember with whom she spoke. The PATCH Defendants offered her what she interpreted as a
12
     loan since they were going to give her money to pay off her unsecured debt and she would have
13
     to repay it plus interest at a later date. This was no ordinary loan, however, and Beverly did not
14

15   receive any disclosures in advance of entering into the loan which she could assess or analyze

16   in order to understand the loan terms.

17          2.11    While the PATCH Defendants entitle and describe their contract as a “Purchase
18   Option Agreement” and repeatedly disavows that it is a loan, the documents provided by the
19
     escrow company, Defendant Lenders Advantage, to Beverly for signing referred to the
20
     documents as a “loan” and the proceeds as “Loan Amount” approximately 118 times. In
21
     numerous places throughout the documents drafted and presented to Beverly for signature by
22

23   Defendant PATCH, there are references to amounts financed, fees and charges that Beverly

24   must re-pay or pay outright that are solely for the benefit of the PATCH Defendants and to

25   increase its profit when it obtains repayment of the amounts advanced to Beverly, as well as its
26
     profit from the transaction.
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 1          2.12    PATCH Defendants did not suggest that Beverly should look at other options to

 2   deal with her credit cards including credit counseling, seeking a further traditional refinance,
 3
     credit counseling, a reverse mortgage, or to discuss her situation with a bankruptcy attorney.
 4
     While PATCH is not obligated to have these discussions, it is important in this instance since
 5
     their product was being represented as not a loan at an effort in inducing her to choose it,
 6
     instead of the other options. In fact, Beverly does not recall any of the discussions she had with
 7

 8   PATCH Defendants wherein anyone told her she had the right to have the loan documents

 9   reviewed by an attorney. She has now been made aware that the documents she signed
10   contained that language, but she has no memory of seeing it.
11
            2.13    Most importantly, Beverly did NOT receive the loan disclosures required under
12
     federal and state lending laws in advance of the loan signing. Instead, she was provided with
13
     alleged summaries of the documentation that no layperson would ever be able to actually
14

15   understand and certainly no layperson would ever be able to understand the true cost associated

16   with the making of this loan, nor of the risk of loss of homeownership that is very real given the

17   outrageous terms. 12 C.F.R. § 1024.2(b) defines a “federally regulated mortgage loan” as
18   follows:
19
            Federally related mortgage loan means:
20
            (1) Any loan (other than temporary financing, such as a construction loan):
21          (i) That is secured by a first or subordinate lien on residential real property,
            including a refinancing of any secured loan on residential real property, upon
22          which there is either:
23          (A) Located or, following settlement, will be constructed using proceeds of the
            loan, a structure or structures designed principally for occupancy of from one to
24          four families (including individual units of condominiums and cooperatives and
            including any related interests, such as a share in the cooperative or right to
25          occupancy of the unit);
            ....
26

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 1   12 C.F.R. § 1024.2(b). Ms. Cary’s loan meets that definition.

 2          2.14    Under federal law, creditors may not generally exclude charges from the
 3
     disclosed finance charge that are payable by the consumer incident to the extension of credit as
 4
     required by 15 U.S.C. § 1605 and Regulation Z § 1026.4. If the creditor fails to include such a
 5
     charge, it improperly discloses the finance charge in violation of 15 U.S.C. § 1638(a)(3) and
 6
     Regulation Z § 1026.18(d). If the PATCH Defendants had actually calculated the annual
 7

 8   percentage rate (APR) and disclosed it in advance of the making of the loan, as required by the

 9   Truth in Lending Act, the rate would have been based upon improperly calculated and
10   undisclosed finance charges and an overstated amount financed in violation of 15 U.S.C. §
11
     1606, Regulation Z § 1026.22. A creditor also unlawfully understates the APR in violation of
12
     15 U.S.C. § 1638(a)(4) and Regulation Z § 1026.18(e). Regulation Z defines the term
13
     “finance charge” as “the cost of consumer credit.” 12 CFR § 1026.4 (2004).
14

15          2.15    The PATCH Defendants did not comply at all with any of the TILA provisions

16   regarding advance disclosure of the loan terms in advance of the loan signing. This also

17   violated the Washington Consumer Loan Act which incorporated TILA requirements into its
18   language.
19
            2.16    The PATCH Defendants are covered by TILA loan disclosure requirements
20
     because they make more than five (5) loans per year. The PATCH Defendants were required to
21
     provide Ms. Cary with the Loan Estimate within three business days of the receipt of the
22

23   consumer’s loan application. 12 C.F.R. § 1026.19(e)(1). That Estimate must contain a good

24   faith estimate of credit costs and transaction terms. If any information necessary for an accurate

25   disclosure is unknown, the creditor must make the disclosure based on the best information
26
     reasonably available at the time the disclosure is provided to the consumer and use due
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 1   diligence in obtaining the information. 12 C.F.R. § 1026.19(e)(1)(i); Comment 19(e)(1)(i)-1).

 2   The Estimate must be in writing and contain the information prescribed in § 1026.37. The
 3
     creditor must disclose only the specific information set forth in 12 C.F.R. § 1026.37(a) through
 4
     (n), as shown in the CFPB’s form in appendix H-2, consistent with 12 C.F.R. § 1026.37(o).
 5
            2.17    Delivery must satisfy the timing and method of delivery requirements. The
 6
     creditor is responsible for delivering the Loan Estimate or placing it in the mail no later than
 7

 8   the third business day after receiving the application. 12 C.F.R. § 1026.19(e)(1)(iii)). The

 9   PATCH Defendants were required to use form H-24, promulgated by the CFPB. 12 C.F.R. §
10   1026.37(o)(3)(i). PATCH Defendants did not make any disclosures within three business days
11
     of Ms. Cary’s application or at all, nor did they use form H-24.
12
            2.18    Rather than providing Beverly with standard loan terms which complied with
13
     federal and state lending laws, the PATCH Defendants demanded that she re-pay the loan with
14

15   a percentage of her home’s equity through a complex labyrinth of loan terms that no average

16   consumer and even most experienced lawyers would be able to follow and understand, let alone

17   calculate the interest rate, repayment requirements, etc. The Agreement also included an initial
18   reduction in the alleged value of the Property and allowed Defendant PATCH to exclusively
19
     control the process of determining the value of the Property throughout the history of the
20
     transaction.
21
            2.19    Further, the unlawful loan provided by the PATCH Defendants included a
22

23   requirement, not disclosed in advance and only provided at the loan signing, of a non-

24   revocable Power of Attorney (“POA”) giving the PATCH Defendants the power to control the

25   entirety of the contractual relationship and stealing from Beverly any control she might have
26
     over her home, the Property. The very broad powers in the POA includes: (1) allowing
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 1   Defendant PATCH to force the sale of Beverly’s home in the event she files a bankruptcy and

 2   if Beverly fails to “maintain”, “preserve” or “repair” the Property according to the unilateral
 3
     discretion of Defendant PATCH. The definition of “maintain” and “repair” include such
 4
     generic terms as keeping the Property in “good condition”. Again, allowing Defendant PATCH
 5
     to decide for itself and without giving Beverly any ability to challenge its decisions whether she
 6
     is or is not keeping the Property in “good condition”, which then permits Defendant PATCH to
 7

 8   force the sale of her home and repeat its very significant profits that it disavows is interest.

 9   Beverly maintains that the amounts over and above what was loaned to her is interest that
10   Defendants seek to mischaracterize in an effort at avoiding federal and state lending laws.
11
            2.20    Believing there were no other options and facing immense financial pressure,
12
     Beverly signed the PATCH Defendants’ documents on or about July 3, 2019, approximately
13
     two months before Defendant PATCH had registered to conduct any business in the State of
14

15   Washington. And as noted above, Defendant PATCH was not then and never has been licensed

16   to engage in consumer lending and to take a lien interest on Beverly’s residence in the State of

17   Washington. That lien is evidenced by a Deed of Trust, which is consistent with Washington’s
18   requirements that any encumbrance be evidenced by a deed. RCW 64.04.010. The PATCH
19
     Defendants’ Deed of Trust is most certainly an “encumbrance”. Further, a deed of trust in
20
     Washington is treated as a mortgage on real property. RCW 61.24.020. This is irrespective of
21
     the PATCH Defendants efforts to characterize the transaction as anything other than a
22

23   mortgage loan. See also, RCW 61.24.005(2) which defines “beneficiary” in a deed of trust as

24   “the holder of the instrument or document evidencing the obligations secured by the deed of

25   trust”. Defendant PATCH has identified itself as the “beneficiary” in the Deed of Trust it
26
     required Beverly to sign.
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 1          2.21    Beverly failed to understand core terms of the loan, which is understandable

 2   when one tries to read the complex and Byzantine terms included in the loan documents, such
 3
     as Defendant PATCH’s claim of a right to force the sale of her home prior to the end of the 10
 4
     year term of the loan; exactly how the repayment amount will be calculated; how much Beverly
 5
     would owe six (6) months after the documents were signed; how much would be owed after
 6
     twelve (12) months; how much would be owed after three (3) years, and so on. In return for
 7

 8   the approximately $62,000 that Defendant PATCH paid out on the loan to Beverly and on her

 9   behalf for her debts, Beverly had no idea that it would demand in excess of $126,000.00 less
10   than three years later, as it has done in her bankruptcy case.
11
            2.22    Among the other absurd terms of the unlawful loan made by the PATCH
12
     Defendants are the following, including terms of the Real Estate Option Agreement, Sections
13
     5.3, 6.1, 6.2, 7 and 19, including subsections and in particular, Section 20, which requires
14

15   Beverly to indemnify Defendant PATCH f or any potential claims while there is no obligation

16   from Defendant PATCH to Beverly:

17                   a.       It allows the “Investor”, Defendant PATCH, to order an appraisal
     without Beverly’s consent and to charge her for it;
18                   b.       If Beverly disagrees with the appraised amount, she has to pay for
19   another one herself and if she and Defendant PATCH cannot reach an agreement, she is
     required to arbitrate the issue. As noted above, mandatory arbitration in connection with the
20   making of a residential mortgage loan which is Beverly’s principal dwelling is illegal under
     federal law;
21                   c.       The Owner, Beverly, will have a different required “payout” amount
     depending upon what sort of transaction she enters into in the future to either refinance the
22   Property, sell it to a third party, sell it to Defendant PATCH, etc. These are the sort of uncertain
23   and differing repayment terms which violate federal and state lending laws;
                     d.       Specific assertions of what Beverly has to repay Defendant PATCH
24   while simultaneously contending that the transaction is not a loan and that interest is not being
     charged.
25
            2.23    In spite of the PATCH Defendants’ repeated assertions throughout the loan
26

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 1   documents that the transaction is not a loan, the accompanying Deed of Trust confirms that that

 2   is precisely the nature of the transaction in multiple places . Paragraph 7 begins with the
 3
     following language:
 4
            Default and Foreclosure and Power of Sale.
 5
            Upon default by Trustor in the performance of or upon breach by Trustor of any
 6          of the rights and obligations that are secured by this Security Instrument as
            specified above, Beneficiary may declare all sums secured by this Security
 7
            Instrument immediately due and payable and may invoke the power of sale
 8          and any other remedies permitted by applicable law, including an action in
            any court of competent jurisdiction to foreclose this Security Instrument as a
 9          deed of trust or mortgage.
10   Deed of Trust, Paragraph 7 (emphasis added). The Trustor is Ms. Cary and the Beneficiary is
11
     Defendant PATCH.
12
            2.24    The Deed of Trust at Paragraph 10 also gives the Trustee powers that only the
13
     Beneficiary may demand it exercise, in contravention of its duties under Washington law to
14

15   both the “borrower” (in this instance, the borrower is identified as the “Trustor”) and the

16   “beneficiary”. RCW 61.24.010(4).

17          2.25    At Paragraph 12, the exclusive duty to pay for the services of the Trustee, which
18   only Defendant PATCH controls and directs, is to be borne by Trustor, Ms. Cary. This too is a
19
     blatant violation of Washington law and further evidences just how much the entirety of the
20
     subject loan transaction is one-sided and designed to guarantee that Ms. Cary ends up losing
21
     her home and all of the equity in it to Defendant PATCH.
22

23          2.26    The Deed of Trust also purports to be a separate lien on personal property that is

24   part of the Property, including fixtures, under UCC Article 9. This assertion is absurd and

25   contradictory to the provisions of Washington law that makes clear that a deed of trust secures
26
     real property and only real property. Further, “fixtures” are not separate from structures on and
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 1   part of real property.

 2          2.27    Ms. Cary is not listing all of the onerous and unlawful terms of the loan
 3
     agreement herein, but she does assert that every part of the loan documentation violates federal
 4
     and state lending laws, as well as Washington real property law. She also did not realize she
 5
     had agreed to a mandatory arbitration clause until the loan documents were reviewed with her
 6
     attorneys. Had she not taken action to reject the loan terms and rescind the loan entirely under
 7

 8   TILA with the assistance of her attorneys, she would have been bound by all of the loan terms,

 9   including the unlawful mandatory arbitration clause.
10          2.28    The PATCH Defendants may have further violated TILA and state law when it
11
     made the unilateral decision to have Ms. Cary’s escrow handled by an escrow agent, Defendant
12
     Lenders Advantage, which may not licensed in Washington state in a manner that allowed it to
13
     act as an escrow agent in Washington state. The escrow paperwork indicated that Defendant
14

15   Lenders Advantage was operating under a California license – not a Washington license. If

16   Defendant Lender’s Advantage is actually just a part of First American Title Insurance and is

17   licensed by the Washington Department of Insurance, then it can act as an escrow agent in
18   Washington as long as it complies with the Escrow Agent Registration Act, RCW 18.44, et seq.
19
            2.29    Defendant Lenders Advantage also included a mandatory arbitration agreement
20
     in its escrow paperwork which is prohibited by TILA. That agreement purports to require
21
     arbitration of any and all disputes relating to the loan terms. By doing so, Defendant Lenders
22

23   Advantage was acting in collusion with the PATCH Defendants to further violate TILA which

24   prohibits the use of a mandatory arbitration agreement in connection with a federally regulated

25   mortgage loan. 15 U.S.C. § 1639c(e)(3). The PATCH Defendants cannot use a third party to
26
     impose terms upon a borrower that are prohibited by federal law.
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 1          2.30    As evidenced by the fact that Beverly had to file a Chapter 13 bankruptcy,

 2   obtaining a loan from Defendant PATCH did not solve Beverly’s financial problems. She
 3
     found herself back in financial trouble again due to Alycia’s continued addiction problems. She
 4
     was required to file this bankruptcy to get some relief, but that was how she discovered the
 5
     horrific nature of the loan she obtained from Defendant PATCH when she had to try to figure
 6
     out how much she owed on the loan after a short period of time.
 7

 8          2.31    Upon request by Beverly’s bankruptcy counsel, Defendant PATCH provided a

 9   “Final Payoff Statement” in the amount of $126,554.00 dated March 5, 2021. Defendant
10   PATCH later filed a Proof of Claim in the amount of $122,500.00 on July 5, 2021. Apparently,
11
     Defendant PATCH cannot even calculate its own payoff calculations using the formula it
12
     created. But these amounts make it very clear that the transaction is a loan and a very expensive
13
     one at that. Defendant PATCH lent Ms. Cary $64,000.00 on or about July 13, 2019 and less
14

15   than two years later, it was demanding almost double that amount in repayment. That

16   constitutes an interest rate of almost 50% per annum.

17          2.32    Defendant PATCH has even gone so far as to try to repeatedly oppose Beverly’s
18   attempts to get lawyers hired to represent her in challenging the validity of this loan agreement,
19
     telling this Court that Beverly doesn’t have a right to challenge its unlicensed loan product and
20
     making threats about incurring legal fees in connection with its efforts to prevent her from
21
     obtaining recovery that Defendant PATCH maintains it can charge her under the loan contract.
22

23   In other words, Defendant PATCH is using its high-priced Silicon Valley lawyers to waste this

24   Court’s time by making frivolous arguments and legally unsupported opposition to Ms. Cary’s

25   right to challenge the terms of this unlawful loan while preparing to charge her for those
26
     efforts. This is yet another example of the horrific and onerous nature of the contractual terms
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 1   of the unlawful loan provided to Beverly by Defendant PATCH, and the predatory nature of

 2   Defendant PATCH and all of its affiliated entities, as well as the members of the Defendants’
 3
     LLCs.
 4
             2.33   Defendant Lenders Advantage has acted in collusion with the other Defendants
 5
     to facilitate this unlawful loan by providing escrow services in Washington state when it may
 6
     not be licensed to do so, and by insisting that Ms. Cary sign an escrow agreement that includes
 7

 8   a mandatory arbitration agreement, in direct contravention of the federal lending laws.

 9           2.34   Beverly has incurred damages and been injured in amounts to be determined
10   later by the trier of fact but which include at this stage illegal and unlawful demands for interest
11
     and fees which Defendant PATCH is demanding in violation of Washington law. As outlined
12
     below, a loan made by an unlicensed lender which is secured by a residence does not allow the
13
     lender to recovery any fees or interest on the loan. RCW 31.04.035(2). She has also incurred
14

15   attorneys’ fees and costs relating to having to obtain information from the PATCH Defendants

16   about the alleged loan balance, and to respond to the Proof of Claim and other efforts in her

17   Chapter 13 bankruptcy attributable to the actions of the PATCH Defendants. Further, Ms. Cary
18   is required to take this action to make certain that the unlawful arbitration clause is not included
19
     in the loan agreement with the PATCH Defendants and to make certain that the PATCH
20
     Defendants cannot enforce the unlawful terms which it has tried to impose upon Ms. Cary, in
21
     contravention of federal and state lending laws.
22

23                                     III. CAUSES OF ACTION

24                                        First Cause of Action
                                      Quiet Title and To Determine
25                                 The Nature and Extent of Any Lien
                             as Against Defendants PATCH and Patch Homes
26

27                                                                                LAW OFFICES OF
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 1          3.1     Ms. Cary incorporates herein by reference as though fully set forth at length

 2   each and every allegation and statement contained in the paragraphs above, inclusive, of the
 3
     Factual Allegations above.
 4
            3.2     Under Washington law, RCW 7.28.010, Ms. Cary has the right to bring this
 5
     action in order to remove the cloud on title in the form of an unlawful mortgage loan secured
 6
     by a Deed of Trust that has been generated, created and recorded against the subject real
 7

 8   Property by Defendants PATCH and Patch Homes, in an attempt to gain for in a monetary

 9   recovery against the Property to which it is not entitled, as it is above and beyond any right it
10   may have for making an unlawful loan.
11
                                            Second Cause of Action
12                              Violation of the Consumer Loan Act, which is a
                               Per Se Violation of the Consumer Protection Act
13                             as Against Defendants PATCH and Patch Homes
14          3.3     Ms. Cary incorporates herein by reference as though fully set forth at length
15
     each and every allegation and statement contained in all of the Sections above, inclusive, and
16
     the Facts Statements, inclusive, and Paragraphs 3.1 through 3.2 of the Causes of Action above.
17
            3.4     The Consumer Loan Act, RCW 31.04.035, requires any person or entity to be
18

19   licensed under the CLA if they obtain a lien on a borrower’s residence. Defendants PATCH

20   and Patch Homes do not have a license to make a consumer loan and the loan transaction at

21   issue is a consumer loan secured by Ms. Cary’s residence. A violation of RCW 31.04.035 is a
22   per se violation of the Consumer Protection Act and as such, Defendants PATCH and Patch
23
     Homes are liable to Ms. Cary for their violations of the law, as more particularly described
24
     above in Facts Section.
25
            3.5     A per se violation of the CPA under the CLA, RCW 31.04.208, meets the
26

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 1   requirements of (1) unfair or deceptive act, (2) in trade or commerce, and (3) affecting the

 2   public interest. Id. As identified above, Ms. Cary has suffered injuries and incurred damages as
 3
     a direct result of the actions of Defendants PATCH and Patch Homes in connection with their
 4
     violations of the CLA. Therefore, she is entitled to recover damages, treble damages and
 5
     reasonable attorney fees and costs pursuant to the statute, as well as permanent injunctive relief
 6
     to make certain that other Washington consumers are not similarly harmed by the actions of
 7

 8   Defendants PATCH and Patch Homes. In addition, Defendants PATCH and Patch Homes may

 9   not collect any interest on the loan nor any fees, and if any of these amounts have already been
10   paid by Ms. Cary, either through the loan terms or other means, Defendants PATCH and Patch
11
     Homes must refund those amounts to her under Washington law.
12
                                         Third Cause of Action
13                          Violation of the Washington State Usury Statute
                                Which is a Per Se Violation of the CPA
14                          as Against Defendants PATCH and Patch Homes
15
            3.6     Ms. Cary incorporates herein by reference as though fully set forth at length
16
     each and every allegation and statement contained in all of the Sections above, including the
17
     Facts Statements, Paragraphs 2.1 through 2.34, inclusive, and Paragraphs 3.1 through 3.5 of the
18

19   Causes of Action above.

20          3.7      Under RCW 19.52.020(1),

21          (1) Except as provided in subsection (4) of this section, any rate of interest shall
            be legal so long as the rate of interest does not exceed the higher of: (a) Twelve
22          percent per annum; or (b) four percentage points above the equivalent coupon
23          issue yield (as published by the Board of Governors of the Federal Reserve
            System) of the average bill rate for twenty-six week treasury bills as determined
24          at the first bill market auction conducted during the calendar month immediately
            preceding the later of (i) the establishment of the interest rate by written
25          agreement of the parties to the contract, or (ii) any adjustment in the interest rate
            in the case of a written agreement permitting an adjustment in the interest rate. No
26
            person shall directly or indirectly take or receive in money, goods, or things in
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 1          action, or in any other way, any greater interest for the loan or forbearance of any
            money, goods, or things in action.
 2
     RCW 19.52.020(1).
 3

 4          3.8     Given the current interest rate published by the Board of Governors of the

 5   Federal Reserve System is extremely low, the effective cap on interest rates in Washington

 6   state is twelve percent (12%) per annum. The loan made to Beverly by Defendants PATCH and
 7
     Patch Homes carries an interest rate demonstrably in excess of 12 percent per annum based
 8
     upon the amounts demanded by the PATCH Defendants in her Chapter 13 bankruptcy.
 9
            3.9     RCW 19.52.030 also provides that:
10
            (1) If a greater rate of interest than is allowed by statute shall be contracted for or
11
            received or reserved, the contract shall be usurious, but shall not, therefore, be
12          void. If in any action on such contract proof be made that greater rate of interest
            has been directly or indirectly contracted for or taken or reserved, the creditor
13          shall only be entitled to the principal, less the amount of interest accruing thereon
            at the rate contracted for; and if interest shall have been paid, the creditor shall
14          only be entitled to the principal less twice the amount of the interest paid, and less
15          the amount of all accrued and unpaid interest; and the debtor shall be entitled to
            costs and reasonable attorneys' fees plus the amount by which the amount the
16          debtor has paid under the contract exceeds the amount to which the creditor is
            entitled . . .
17
     RCW 19.52.030(1).
18

19          3.10    Consistent with the Usury statute, Ms. Cary is entitled to recover twice the

20   interest that she has already paid on the loan, which in this case may be that amount which the

21   PATCH Defendants are demanding in the bankruptcy has already “accrued” and should be
22   deducted from the equity in her home. The PATCH Defendants is only entitled to recover the
23
     principal amount provided to Ms. Cary, less any interest which has been accrued and to recover
24
     her reasonable attorneys’ fees and costs incurred to date. This will also include the costs she
25
     was charged in connection with the making of the loan, including the escrow and other fees.
26

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 1          3.11    The Usury statute also allows for a per se CPA violation in the event of a

 2   violation of the statute. RCW 19.52.036. A violation of the statute meets the unfair or deceptive
 3
     and trade or commerce elements of the CPA.
 4
            3.12    Ms. Cary can prove the “public interest” element of a CPA claim which requires
 5
     proof that the PATCH Defendants “had the capacity to injure other persons” and “has the
 6
     capacity to injure other persons” because it continues in its business as of the writing of this
 7

 8   Amended Complaint. This is also evidenced by the actions of the PATCH Defendants in Ms.

 9   Cary’s bankruptcy wherein they tried to collect a usurious interest amount by filing a Proof of
10   Claim for the same and because of its actions to try to prevent Ms. Cary from being able to hire
11
     lawyers to represent her.
12
            3.13    Ms. Cary, acting through her attorneys, is also aware that the PATCH
13
     Defendants continue to do business by advertising online through the Noah website offering the
14

15   same products that she was conned into signing.

16          3.14    Ms. Cary has suffered injuries and incurred damages as a direct result of the

17   actions of Defendants PATCH and Patch Homes in connection with their violations of the
18   Washington usury statute. Therefore, she is entitled to recover damages, treble damages and
19
     reasonable attorney fees and costs pursuant to the statute, as well as permanent injunctive relief
20
     to make certain that other Washington consumers are not similarly harmed by their actions. In
21
     addition, the PATCH Defendants may not collect any interest on the loan nor any fees, and if
22

23   any of these amounts have already been paid by Ms. Cary, either through the loan terms or

24   other means, the PATCH Defendants must refund double those amounts to her under

25   Washington law.
26
                                          Fourth Cause of Action
27                                                                                LAW OFFICES OF
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 1                               Violation of the Consumer Protection Act
                             as Against Defendants PATCH and Patch Homes
 2
            3.15    Ms. Cary incorporates herein by reference as though fully set forth at length
 3

 4   each and every allegation and statement contained in all of the Sections above, including the

 5   Facts Statements, Paragraphs 2.1 through 2.34, inclusive, and Paragraphs 3.1 through 3.14 of

 6   the Causes of Action above.
 7
            3.16    The PATCH Defendants have made numerous misrepresentations about the
 8
     terms of the contract and whether or not it is a loan, whether the terms of the loan are compliant
 9
     with Washington state law (they are not) and whether the loan can even be made under
10
     Washington law, as well as the amounts owing under the loan and whether PATCH Defendants
11

12   can charge her interest and any fees on the loan, as more particularly described above. These

13   misrepresentations were unfair and deceptive, and they occurred in trade or commerce, which
14   is PATCH Defendants’ business model and purpose.
15
            3.17    Ms. Cary maintains, based upon information and belief, that the Defendants
16
     have engaged in making similar misrepresentations to other Washington homeowners and/or
17
     that it had the capacity to do so previously and/or has the capacity to do so in the future.
18

19          3.18    All of Ms. Cary’s injuries and damages were caused by the PATCH Defendants

20   and they are directly responsible for those injuries and damages.

21                                          Fifth Cause of Action
                                Intentional and Negligent Misrepresentation
22                                     as Against PATCH Defendants
23
            3.19    Ms. Cary incorporates herein by reference as though fully set forth at length
24
     each and every allegation and statement contained in all of the Sections above, including the
25
     Facts Statements, Paragraphs 2.1 through 2.34, inclusive, and Paragraphs 3.1 through 3.18 of
26

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 1   the Causes of Action above.

 2          3.20    Ms. Cary maintains that there were numerous intentional and/or negligent
 3
     misrepresentations made to her by the PATCH Defendants about the terms of the loan, by and
 4
     through their agents, as described more particularly hereinabove.
 5
            3.21    Ms. Cary was particularly harmed by the specific misrepresentations made by
 6
     the representatives of PATCH Defendants about the terms of the loan, and intentional
 7

 8   omissions about the loan terms prior to signing since they did not provide her with any

 9   information about the loan terms in advance, as described more particularly in the Facts section
10   above. Included in the misrepresentations were assertions regarding the fact that it is a loan, in
11
     spite of PATCH Defendants’ assertions to the contrary, the correct amount owing at any given
12
     time after the loan is made, the amounts that may be demanded in connection with the loan
13
     under Washington law, and the rights to completely control all of the terms of the contract and
14

15   whether or not Beverly is complying with the loan terms.

16          3.22    As a result of the actions of the PATCH Defendants, which is also referenced in

17   the loan documents, Beverly has been harassed for monies that she does not owe and now faces
18   the risk of losing her home and all of her equity therein.
19
                                         Sixth Cause of Action
20                Violations of the Escrow Registration Agent Act, RCW 18.44, et seq.
                          Which Constitutes A Violation of the CPA as Against
21               Defendant First American Title Insurance Company Lenders Advantage
22          3.23    Ms. Cary incorporates herein by reference as though fully set forth at length
23
     each and every allegation and statement contained in all of the Sections above, including the
24
     Facts Statements, Paragraphs 2.1 through 2.34, inclusive, and Paragraphs 3.1 through 3.22 of
25
     the Causes of Action above.
26

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 1           3.24    RCW 18.44.011(8) defines who may act as an escrow agent under Washington

 2   law:
 3           "Escrow agent" means any person engaged in the business of performing for
             compensation the duties of the third person referred to in subsection (7) of this
 4           section.
 5
     RCW 18.44.011(8).
 6
             3.25    RCW 18.44.011(7) describes the business practices which constitute an
 7
     “escrow” which is undertaken by an “escrow agent”:
 8
             "Escrow" means any transaction, except the acts of a qualified intermediary in
 9           facilitating an exchange under section 1031 of the internal revenue code, wherein
             any person or persons, for the purpose of effecting and closing the sale,
10           purchase, exchange, transfer, encumbrance, or lease of real or personal
             property to another person or persons, delivers any written instrument,
11           money, evidence of title to real or personal property, or other thing of value
             to a third person to be held by such third person until the happening of a
12           specified event or the performance of a prescribed condition or conditions,
             when it is then to be delivered by such third person, in compliance with
13           instructions under which he or she is to act, to a grantee, grantor, promisee,
             promisor, obligee, obligor, lessee, lessor, bailee, bailor, or any agent or
14           employee thereof. "Escrow" includes the collection and processing of payments
             and the performance of related services by a third party on seller-financed loans
15           secured by a lien on real or personal property but excludes vessel transfers.
16
     RCW 18.44.011(7). Emphasis added.
17
             3.26    Defendant Lenders Advantage is an “escrow agent” as defined by RCW
18
     18.44.011(8) and it performed the acts described in RCW 18.44.011(7) in connection with
19
     providing escrow services to Ms. Cary and the PATCH Defendants relating to the loan that is
20

21   the subject of this litigation.

22           3.27    The Escrow Agent Registration Act, RCW 18.44.301 includes the following
23   “Prohibited Practices”:
24
                     It is a violation of this chapter for any escrow agent, controlling person,
25           officer, designated escrow officer, independent contractor, employee of an escrow
             business, or other person subject to this chapter to:
26

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 1                  (1) Directly or indirectly employ any scheme, device, or artifice to defraud
            or mislead borrowers or lenders or to defraud any person;
 2                  (2) Directly or indirectly engage in any unfair or deceptive practice
            toward any person;
 3
            ....
 4                  (4) Knowingly make, publish, or disseminate any false, deceptive, or
     misleading information in the conduct of the business of escrow, or relative to the
 5   business of escrow or relative to any person engaged therein;
            ....
 6                  (11) Fail to comply with any requirement of any applicable federal or
            state act including the truth in lending act, 15 U.S.C. Sec. 1601 et seq. and
 7
            Regulation Z, 12 C.F.R. Sec. 226; the real estate settlement procedures act, 12
 8          U.S.C. Sec. 2601 et seq. and Regulation X, 24 C.F.R. Sec. 3500; the equal credit
            opportunity act, 15 U.S.C. Sec. 1691 et seq. and Regulation B, Sec. 202.9, 202.11,
 9          and 202.12; Title V, Subtitle A of the financial modernization act of 1999 (known
            as the Gramm-Leach-Bliley act), 12 U.S.C. Secs. 6801-6809; the federal trade
10          commission's privacy rules, 16 C.F.R. Secs. 313-314, mandated by the Gramm-
            Leach-Bliley act; as these acts existed on January 1, 2007, or such subsequent
11
            date as may be provided by the department by rule, or any other applicable
12          escrow activities covered by the acts;
            ....
13
     RCW 18.44.301(1), (2), (4), (11). Emphasis added.
14

15          3.28    Ms. Cary maintains that Defendant Lenders Advantage in actions more

16   particularly described above which constituted violations of the Prohibited Practices, RCW

17   18.44.301(1), (2), (4) and (11) by engaging in a “scheme, device, or artifice to defraud or
18   mislead borrowers or lenders or to defraud any person” (1); by “directly or indirectly engage in
19
     any unfair or deceptive practice toward any person” (2); knowingly make, publish, or
20
     disseminate any false, deceptive, or misleading information in the conduct of the business of
21
     escrow, or relative to the business of escrow or relative to any person engaged therein (4); and
22

23   fail to comply with any requirement of any applicable federal or state act including the Truth in

24   Lending Act, 15 U.S.C. § 1601 et seq. and Regulation Z, 12 C.F.R. § 226 (11) when it

25   consummated an obviously unlawful loan that included paperwork which expressly disavowed
26
     being a loan and which obviously violated TILA in numerous ways, including the fact that
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 1   none of the documents required by TILA were included in the loan documents.

 2          3.29    Defendant Lenders Advantage violated the Washington Consumer Protection
 3
     Act”("CPA"), RCW 19.86, et seq., in connection with its actions during its handling of the
 4
     escrow for Defendant PATCH and Ms. Cary. Those actions are identified as follows:
 5
            a.      It engaged in “unfair or deceptive acts or practices in the conduct of any trade or
 6
     commerce.” RCW 19.86.020. Those “unfair” and “deceptive” acts included the inclusion of the
 7

 8   Arbitration Agreement in the Escrow General Instructions, which required that Ms. Cary

 9   pursue “all disputes and claims arising out of or relating to this Escrow must be resolved
10   by arbitration.”
11
            19. AGREEMENT TO ARBITRATE.
12          (a) Except as indicated in the paragraph regarding CONFLICTING
            INSTRUCTIONS & RELATED DISPUTES, above, all disputes and claims
13          arising out of or relating to this Escrow must be resolved by arbitration.
            Notwithstanding the foregoing, any party may bring an individual action in small
14          claims court. Any dispute as to the arbitrability of claims or the scope or
15          enforceability of this arbitration provision, or as to the interpretation of paragraph
            (c) below, is for the court to decide. This Escrow evidences a transaction in
16          interstate commerce, and thus the Federal Arbitration Act governs the
            interpretation and enforcement of this provision. This arbitration provision shall
17          survive termination of the Escrow.
18   Escrow General Instructions, Paragraph 19. (Emphasis added.) Given the broad language of the
19
     AGREEMENT TO ARBITRATE that Defendant Lender’s Advantage required Ms. Cary to
20
     sign, it applies to any of her challenges to the entirety of the transaction with the PATCH
21
     Defendants, as well as the escrow agent.
22

23          b.      The Truth in Lending Act (TILA) prohibits the use of an arbitration clause in

24   connection with mortgage lending secured by the borrower’s primary dwelling. 15 U.S.C. §

25   1639c(e)(3). Thus, Defendant Lender’s Advantage was actively engaged with the PATCH
26
     Defendants in assisting them in violating those provisions of TILA and imposing an arbitration
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 1   clause upon Ms. Cary that is prohibited by federal law in this sort of lending transaction. These

 2   actions constituted an unfair and deceptive act.
 3
             c.     Defendant Lender’s Advantage also participated in an escrow for a transaction
 4
     that purported not to be a loan, but which it treated as a loan for purposes of the escrow,
 5
     including the execution of a Deed of Trust which is defined in Black’s Law Dictionary as:
 6
             An instrument in use in many states, taking the place and serving the uses of a
 7
             common-law mortgage, by which the legal title to real property is placed in one or
 8           more trustees, to secure the repayment of a sum of money or the performance
             of other conditions.
 9
     Black’s Law Dictionary. (Emphasis added.) This also constituted an “unfair” and “deceptive”
10
     act, as well as publication and/or dissemination of “false” and “misleading” information to Ms.
11

12   Cary.

13           d.     Defendant Lender’s Advantage engaged in that action in connection with its
14   business of providing escrow services, which constitutes “trade or commerce”. Paragraph
15
     19(a), “This Escrow evidences a transaction in interstate commerce . . .”
16
             d.     Defendant Lender’s Advantage’s actions had and has “the capacity to injure
17
     other persons.” RCW 19.86.093(c). This is demonstrated by way of the fact that the document
18

19   signed by Ms. Cary is titled “Escrow General Instructions”. It is Defendant Lender’s

20   Advantage’s “General Instructions” utilized by at least a significant portion of their escrow

21   customers. Discovery in this case will confirm how often it has been used on others to impose
22   upon them an arbitration clause that violates TILA.
23
             e.     The actions of Defendant Lender’s Advantage caused Ms. Cary damages in the
24
     form of participating in and helping facilitate the inducement to get her to enter into a loan
25
     transaction that was nothing like what it purported to be and without any of the required loan
26

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 1   disclosures mandated under federal and state law. If the PATCH loan is held to be enforceable,

 2   it would result in Ms. Cary likely losing most, if not all, of the equity in her home, and would
 3
     allow a third party to have complete control of all decisions to be made regarding her home for
 4
     the entirety of the loan contract.
 5
            f.      Defendant Lender’s Advantage has also caused Ms. Cary injury in the form of
 6
     having to pay her bankruptcy lawyer to deal with PATCH’s demands for payment of
 7

 8   approximately double the amount it loaned to Ms. Cary after only two years through the filing

 9   of a Proof of Claim. She was also injured by the PATCH Defendants making that demand,
10   even though she has not yet been required to pay any of it.
11
            g.      Defendant Lender’s Advantage helped cause the damages and injuries suffered
12
     by Ms. Cary through its intentional actions which were always designed to assist only the
13
     PATCH Defendants and were done either with the intent to harm Ms. Cary or with a callous
14

15   and intentional disregard of the harm that would come to an unsophisticated borrower entering

16   into an exceedingly complex loan transaction that purported to not even be a loan.

17          3.30    For all of the above reasons and based upon its actions, Ms. Cary maintains that
18   Defendant Lender’s Advantage is liable to her for violations of the Consumer Protection Act,
19
     RCW 19.86, et seq.
20
                                         Seventh Cause of Action
21                   Violations of the Truth in Lending Act, 15 U.S.C. § 1206, et seq.
                                       Against PATCH Defendants
22

23          3.31    Ms. Cary incorporates herein by reference as though fully set forth at length

24   each and every allegation and statement contained in all of the Sections above, including the

25   Facts Statements, Paragraphs 2.1 through 2.34, inclusive, and Paragraphs 3.1 through 3.30 of
26
     the Causes of Action above.
27                                                                               LAW OFFICES OF
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 1          3.32    The PATCH Defendants are required by TILA to make numerous loan

 2   disclosure because they make more than five (5) loans per year and because the loan met the
 3
     definition of a “federally related mortgage loan”, which included:
 4
            (1) Any loan (other than temporary financing, such as a construction loan):
 5                  (i) That is secured by a first or subordinate lien on residential real
            property, including a refinancing of any secured loan on residential real property,
 6          upon which there is either:
                            (A) Located or, following settlement, will be constructed using
 7
            proceeds of the loan, a structure or structures designed principally for occupancy
 8          of from one to four families (including individual units of condominiums and
            cooperatives and including any related interests, such as a share in the cooperative
 9          or right to occupancy of the unit);
            ....
10
            3.33    For that reason, the PATCH Defendants were required to provide Ms. Cary with
11

12   a Loan Estimate within three business days of the receipt of the consumer’s loan application.

13   12 C.F.R. § 1026.19(e)(1). It was required to contain a good faith estimate of credit costs and
14   transaction terms, based upon the best information reasonably available at the time the
15
     disclosure is provided to the consumer and use due diligence in obtaining the information. 12
16
     C.F.R. § 1026.19(e)(1)(i); Comment 19(e)(1)(i)-1). The Estimate was required to be in writing
17
     and contain the information prescribed in 12 C.F.R. § 1026.37. The creditor must disclose only
18

19   the specific information set forth in 12 C.F.R. § 1026.37(a) through (n), as shown in the

20   CFPB’s form in appendix H-2, consistent with 12 C.F.R. § 1026.37(o).

21          3.34    The creditor is responsible under TILA for delivering the Loan Estimate or
22   placing it in the mail no later than the third business day after receiving the application. 12
23
     C.F.R. § 1026.19(e)(1)(iii)). The PATCH Defendants were required to use form H-24,
24
     promulgated by the CFPB. 12 C.F.R. § 1026.37(o)(3)(i). PATCH Defendants did not make any
25
     disclosures within three business days of Ms. Cary’s application or at all, nor did they use form
26

27                                                                                 LAW OFFICES OF
                                                                         MELISSA A. HUELSMAN,             P.S.
                                                                            705 SECOND AVENUE, SUITE 606
                                                                             SEATTLE, WASHINGTON 98104
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      THIRD AMENDED COMPLAINT - 28                                            FACSIMILE: (206) 673-8220
             Case 2:22-cv-00538-LK Document 13 Filed 06/02/22 Page 38 of 79




 1   H-24.

 2           3.35   Rather than providing Beverly with standard loan terms which complied with
 3
     federal and state lending laws, The PATCH Defendants demanded that she re-pay the loan with
 4
     a percentage of her home’s equity through a complex labyrinth of loan terms that no average
 5
     consumer and even most experienced lawyers would be able to follow and understand, let alone
 6
     calculate the interest rate, repayment requirements, etc. The Agreement also included an initial
 7

 8   reduction in the alleged value of the Property and allowed Defendant PATCH to exclusively

 9   control the process of determining the value of the Property throughout the history of the
10   transaction.
11
             3.36   Based upon these violations of TILA, Ms. Cary is entitled to rescind the loan
12
     and she seeks that recovery from the Court. 12 C.F.R. § 1026.23(a)(3). Simultaneous with the
13
     filing of this Third Amended Complaint, Ms. Cary will also send a Rescission Letter as
14

15   contemplated by the statute.

16                                       Eighth Cause of Action
                     Violations of the Truth in Lending Act, 15 U.S.C. § 1639c(e)(3)
17                                     Against PATCH Defendants
18           3.37   Ms. Cary incorporates herein by reference as though fully set forth at length
19
     each and every allegation and statement contained in all of the Sections above, including the
20
     Facts Statements, Paragraphs 2.1 through 2.34, inclusive, and Paragraphs 3.1 through 3.36 of
21
     the Causes of Action above.
22

23           3.38   TILA, at 15 U.S.C. § 1639c(e)(3), prohibits the imposition of an arbitration

24   clause on any mortgage loan which is secured by the borrower’s primary dwelling:

25           (e) Arbitration
26
                    (1) In general
27                                                                              LAW OFFICES OF
                                                                       MELISSA A. HUELSMAN,            P.S.
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 1
                    No residential mortgage loan and no extension of credit under an open
 2                  end consumer credit plan secured by the principal dwelling of the
                    consumer may include terms which require arbitration or any other
 3
                    nonjudicial procedure as the method for resolving any controversy or
 4                  settling any claims arising out of the transaction.

 5                  ....

 6           (3) No waiver of statutory cause of action
 7
                    No provision of any residential mortgage loan or of any extension of
 8                  credit under an open end consumer credit plan secured by the principal
                    dwelling of the consumer, and no other agreement between the consumer
 9                  and the creditor relating to the residential mortgage loan or extension of
                    credit referred to in paragraph (1), shall be applied or interpreted so as to
10                  bar a consumer from bringing an action in an appropriate district court of
                    the United States, or any other court of competent jurisdiction, pursuant
11
                    to section 1640 of this title or any other provision of law, for damages or
12                  other relief in connection with any alleged violation of this section, any
                    other provision of this subchapter, or any other Federal law.
13
     15 U.S.C. § 1639c(e)(3).
14

15           3.39   The PATCH Defendants acted in collusion with Defendant Lenders Advantage

16   and chose to use that entity as the escrow agent in this transaction and allowed it to include a

17   mandatory arbitration clause in the closing documents which sought to impose such terms on
18   the entirety of the loan transaction, in direct contravention of federal law.
19
             3.40   The PATCH Defendants are charged with knowing the federal and state lending
20
     laws which applied to this transaction and their intentional actions in violating all of those
21
     lending laws is evidenced in the entirety of the transaction, including the repeated assertions in
22

23   the loan documents themselves that the transaction was not a loan.

24           3.41   The PATCH Defendants therefore violated federal law by including a

25   mandatory arbitration agreement in the subject loan terms.
26
     //
27                                                                                   LAW OFFICES OF
                                                                         MELISSA A. HUELSMAN,             P.S.
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          THIRD AMENDED COMPLAINT - 30                                        FACSIMILE: (206) 673-8220
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 1                                       Ninth Cause of Action
                      Violations of the CPA Based Upon Unlawful Imposition
 2                         Of a Mandatory Arbitration Clause on Plaintiff
                                In Violation of Federal Law As Against
 3
                Defendant First American Title Insurance Company Lenders Advantage
 4                                    And The Patch Defendants

 5          3.42    Ms. Cary incorporates herein by reference as though fully set forth at length

 6   each and every allegation and statement contained in all of the Sections above, including the
 7
     Facts Statements, Paragraphs 2.1 through 2.34, inclusive, and Paragraphs 3.1 through 3.41 of
 8
     the Causes of Action above.
 9
            3.43    As noted above, Defendant Lenders Advantage, acting in collusion with the
10
     PATCH Defendants, included an arbitration clause in the escrow documents which is designed
11

12   to bind Ms. Cary to mandatory arbitration in connection with the making of the subject loan, in

13   direct violation of the requirements of federal law. The Truth in Lending Act, 15 U.S.C. §
14   1639c(e) prohibits the use of a binding arbitration clause in connection with the making of a
15
     residential mortgage loan when it is the borrower’s principal dwelling.
16
            3.44    Defendant Lenders Advantage is licensed as an escrow agent in the State of
17
     California, as noted on its escrow documents and it may well be licensed to act as an escrow
18

19   agent in Washington if it is really the First American Title Company which is licensed in

20   Washington by the Office of Insurance Commissioner. As such, it was required to adhere to

21   TILA and other federal lending laws under Washington law in connection with its work as an
22   “escrow agent” in Washington state. RCW 18.44.301(11). It is therefore charged with knowing
23
     the corresponding federal and state lending laws which regulate the making of federally
24
     regulated mortgage loans as well as knowledge of Washington escrow laws. It either has
25
     intentionally ignored TILA and federal lending laws or it has chosen not to know them and to
26

27                                                                              LAW OFFICES OF
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 1   act in collusion with lenders such as the PATCH Defendants to violate those laws. Either way,

 2   it acted in violation of the requirements of TILA and the Washington Escrow Agent
 3
     Registration Act.
 4
            3.45    The PATCH Defendants also are charged with knowing federal and state
 5
     lending laws, which include TILA and the express prohibition on the imposition of a
 6
     mandatory arbitration clause. It chose to intentionally ignore this prohibition, craft loan
 7

 8   documents that disavow being a loan and colluding with Defendant Lenders Advantage to

 9   impose upon Ms. Cary an unlawful mandatory arbitration clause.
10          3.46    The PATCH Defendants have made numerous misrepresentations about the
11
     terms of the contract and whether or not it is a loan, as described more completely above. In
12
     addition, it further engaged in unfair and deceptive actions by choosing an escrow agent which
13
     imposed upon Ms. Cary in the escrow documents a mandatory arbitration agreement which was
14

15   prohibited by federal law.

16          3.47    The PATCH Defendants and Defendant Lenders Advantage engaged in these

17   unfair and deceptive actions in connection with trade or commerce, the operation of their
18   respective businesses, and they had previously when they took these actions the capacity to
19
     impose an unlawful arbitration agreement upon borrowers in the future and they continue to
20
     have the capacity to impose an unlawful arbitration agreement upon other borrowers at this
21
     time. RCW 19.86.020; 19.86.093(c).
22

23          3.48     Ms. Cary was injured by way of the imposition of this unlawful arbitration

24   agreement because she had to retain and consult with attorneys to make certain that she did not

25   become required to participate in this unlawful arbitration agreement and to arbitrate her claims
26
     against the Defendants.
27                                                                                LAW OFFICES OF
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      THIRD AMENDED COMPLAINT - 32                                           FACSIMILE: (206) 673-8220
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 1           3.49   All of Ms. Cary’s injuries and damages were caused by the PATCH Defendants

 2   and Defendant Lenders Advantage and they are directly responsible for those injuries and
 3
     damages.
 4
                                         Tenth Cause of Action
 5                                         Objection to Claim
                                       Against PATCH Defendants
 6
             3.50   Ms. Cary incorporates herein by reference as though fully set forth at length
 7

 8   each and every allegation and statement contained in all of the Sections above, including the

 9   Facts Statements, Paragraphs 2.1 through 2.34, inclusive, and Paragraphs 3.1 through 3.49 of
10   the Causes of Action above.
11
             3.51   Incorporating the prior factual allegations and nine causes of action pled in this
12
     Complaint, Defendant PATCH’s Proof of Claim as identified in claim number 11, Exhibit A,
13
     should be disallowed as a secured claim. Any fees, accrued interest (disguised as an equity
14

15   interest or otherwise), should be also disallowed. Should the court disallow this claim in its

16   entirety.

17                                      PRAYER FOR RELIEF
18           WHEREFORE, Plaintiff Ms. Cary prays for the following relief:
19
             1.     Judgment against all of the Defendants in an amount to be proven at trial for
20
     recovery of her out of pocket damages, as well as the value of the injuries she has suffered;
21
             2.     Treble damages up to $25,000.00 for each of Ms. Cary’s categories of damage
22

23   and injury as provided under the CPA;

24           3.     Any statutory damages available under federal or state lending laws, including

25   recovery of costs Ms. Cary has already paid through the escrow process;
26
             4.     An award of attorneys’ fees and costs in an amount to be proven at trial;
27                                                                               LAW OFFICES OF
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       THIRD AMENDED COMPLAINT - 33                                         FACSIMILE: (206) 673-8220
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 1          5.      Disallow Claim 11 in its entirety.

 2          6.      Quiet Title in favor of Debtor, against the PATCH Defendants;
 3
            7.      Rescind the loan made by the PATCH Defendants;
 4
            8.      For injunctive relief against all of the Defendants to prevent any other
 5
     Washington consumers from being harmed by the unlawful, unlicensed business activities of
 6
     all of the Defendants; and
 7

 8          9.      For such other and further relief as the Court deems just and proper.

 9   DATED this ____ day of June, 2022.

10                                                   LAW OFFICES OF MELISSA A.
                                                     HUELSMAN, P.S.
11
                                                     By: /s/Melissa A. Huelsman
12                                                     Melissa A. Huelsman, WSBA #30935
                                                       Attorney for Plaintiff
13                                                     705 2nd Ave, Ste 606
                                                       Seattle, WA 98104-1715
14                                                     Tel# 206-475-4504
15                                                     mhuelsman@predatorylending law.com

16                                                   LAW OFFICES OF MARK MCCLURE, PS

17                                                   By: /s/Mark McClure
                                                       Mark McClure, WSBA #24393
18                                                     Attorney for Plaintiff
                                                       1103 W. Meeker St, Ste 101
19                                                     Kent, WA 98032-5751
                                                       Tel# 253-631-6484
20                                                     mark@mcclurelawgroup.com
21
                                                     HENRY & DEGRAAFF, PS
22
                                                     By: /s/ Christina L. Henry
23                                                     Christina L. Henry, WSBA #31273
                                                       Attorney for Plaintiff
24                                                     113 Cherry Street, PMB 58364
                                                       Seattle, WA 98104-2205
25                                                     Tel# 206-330-0595
                                                       chenry@hdm-legal.com
26

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      THIRD AMENDED COMPLAINT - 34                                          FACSIMILE: (206) 673-8220
Case 2:22-cv-00538-LK Document 13 Filed 06/02/22 Page 44 of 79
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 1
                                            The    Honorable LAUREN
 2                  KINGTHOMAS W DORE
                                                   Chapter 13
 3                                                 Seattle, WA

 4

 5
 6
               IN THE UNITED STATES DISTRICT COURT FOR THE                                       Formatted: Line spacing: 1.5 lines
 7
               WESTERN DISTRICT OF WASHINGTON AT SEATTLE
 8
                   IN THE UNITED STATES BANKRUPTCY COURT
 9          FOR THE WESTERN DISTRICT OF WASHINGTON AT SEATTLE
10
     BEVERLY JANE CARY,              Dist Ct. Case 2:22-cv-00538-LK                              Formatted: Indent: Left: 0.23"
11
                           Debtor.
12                                   Chapter 13 Case No. 20-12450 TWD
13                                   Adversary Case No. 22-01000-TWD
     BEVERLY JANE CARY,                                                                          Formatted: Font: Bold
14
                                     SECOND[PROPOSED]
                      Plaintiff,     THIRD AMENDED COMPLAINT:
15
16                    v.             (1) TO DETERMINE NATURE AND EXTENT OF
                                     LIEN, IF ANY AND TO QUIET TITLE;
17   PATCH SERVICES, LLC d/b/a       (2) VIOLATION OF RCW 31.04, et. seq., WA
     NOAH; PATCH HOMES, INC.;        CONSUMER LOAN ACT, WHICH
18   FIRST AMERICAN TITLE            CONSTITUTES A PER SE VIOLATION OF THE
     INSURANCE COMPANY               WA CONSUMER PROTECTION ACT, RCW
19
     LENDERS ADVANTAGE,              19.886, et seq.;
20                                   (3) WA USURY STATUTE, RCW 19.52, et seq.,
                      Defendants.    WHICH CONSTITUTES A PER SE VIOLATION
21                                   OF THE WA CONSUMER PROTECTION ACT,
22                                   RCW 19.86, et seq.
                                     (4) WA CONSUMER PROTECTION ACT, RCW
23                                   19.86, et seq.;
                                     (5) INTENTIONAL AND NEGLIGENT
24                                   MISREPRESENTATION;
                                     (6) WA (6) CONSUMER PROTECTION ACT,
25
                                     RCW 19.86, et seq., VIOLATION BASED UPON
26                                   VIOLATIONS OF THE WA ESCROW AGENT
                                                                                                 Formatted: Tab stops: 2.51", Left
27                                                               LAW OFFICES OF
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     SECONDTHIRD AMENDED COMPLAINT - 1                      FACSIMILE: (206) 673-8220
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 1                                               REGISTRATION ACT, RCW 18.44, et seq.,
                                                 WHICH CONSTITUTES A PER SE VIOLATION
 2                                               OF THE WA CONSUMER PROTECTION ACT,
                                                 RCW 19.86, et seq.;. AND OTHER ACTIONS;
 3
                                                 (7) VIOLATIONS OF THE TRUTH IN LENDING
 4                                               ACT, 15 U.S.C. § 1601, et seq.;
                                                 (8) VIOLATIONS OF THE TRUTH IN LENDING
 5                                               ACTION, 15 U.S.C. § 1639c(e)(3);
                                                 (9) WA CONSUMER PROTECTION ACT, RCW
 6                                               19.86, et seq. RE: UNLAWFUL ARBITRATION
                                                 CLAUSE;
 7
                                                 (10) OBJECTION TO CLAIM 11
 8

 9
10
11          COMES NOW Debtor and Plaintiff Beverly Jane Cary to pursue her claims that

12   Defendants’ joint and several acts constituteconstituted violations of numerous Washington

13   statutes, including the Consumer Loan Act, RCW 31.04, et seq. and the Escrow Agent Act,
14   RCW 18.44, et seq.,(“CLA”), which constituteconstitutes a per se violation of the Washington
15
     Consumer Protection Act (“CPA”), RCW 19.86, et seq.; stand- alone violations of the
16
     Consumer Protection Act, RCW 19.86, et seq.;., including a violation which is related to
17
     violations of the Escrow Registration Agent Act, RCW 18.44, et seq. and other actions;
18
19   violations of the Usury statute, RCW 19.52, et seq.; Intentional and Negligent

20   Misrepresentation; to Quiet Title as against the PATCH Defendants’ unlawful lien; violations

21   of the Truth in Lending Act, 15 U.S.C. § 1601, et seq., including 15 U.S.C. § 1639c(e)(3) and
22
     form the basis for her objectionObjection to claim 11Claim and avoidance of the PATCH
23
     Defendants’ Deed of Trust.
24
                            I. PARTIES, JURISDICTION AND VENUE
25
            1.1     Defendant PATCH HOMES, INC d/b/a NOAH, referred to herein as
26
                                                                                                               Formatted: Tab stops: 2.51", Left
27                                                                             LAW OFFICES OF
                                                                      MELISSA A. HUELSMAN,            P .S .
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      SECONDTHIRD AMENDED COMPLAINT - 2                                   FACSIMILE: (206) 673-8220
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 1   (“PATCH”) was formed under the laws of the state of Delaware. Defendant PATCH was not

 2   registered with the Washington Secretary of State as a foreign corporation until September 5,
 3
     2019. Its nature of business was listed as “Home Equity”. It became inactive on January 5,
 4
     2021 due to not filing the requisite documentation with the Washington Secretary of State.
 5
     Defendant PATCH is not licensed with the Washington Department of Financial Institutions
 6
     (“DFI”) as a consumer lender, as required by RCW 31.04.025(1); 31.04.035(1). Defendant
 7
 8   PATCH did register with the Washington Department of Revenue but there isare no records

 9   indicating it has ever paid taxes for conducting business in the State of Washington.
10          1.2     Defendant PATCH SERVICES, LLC (“Patch Services”) is a Delaware limited
11
     liability company that was registered with the Washington Secretary of State as a foreign LLC
12
     on March 9, 2021. Its nature of business is listed as “Financial Servicers Provider”. Defendant
13
     Patch Services is not licensed by Washington DFI as a consumer lender or loan servicer.
14
15          Defendants PATCH and Patch Services appear to interchangeably use their names in

16   the subject loan documents referring to themselves or being referred to as either “lender” or

17   “investor”.
18          1.3     Defendant FIRST AMERICAN TITLE INSURANCE COMPANY LENDERS
19
     ADVANTAGE (“Lenders Advantage”) appears to be licensed in Washington state with the
20
     Office of the Insurance Commissioner using only the name FIRST AMERICAN TITLE
21
     COMPANY. It acted as an escrow agent in connection with the loan closing of the subject
22

23   transaction. Ms. Cary will be investigating its licensing in Washington state to make certain

24   that it is compliant such that it could act as an escrow agent in Washington. In connection with

25   that closing, Defendant Lenders Advantage required Beverly to sign an Escrow Agreement
26
     which includes a mandatory arbitration clause. Mandatory arbitration clauses are expressly                 Formatted: Tab stops: 2.51", Left
27                                                                              LAW OFFICES OF
                                                                       MELISSA A. HUELSMAN,            P .S .
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      SECONDTHIRD AMENDED COMPLAINT - 3                                    FACSIMILE: (206) 673-8220
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 1   prohibited under federal law in connection with residential mortgage loans which are the

 2   principal dwelling of the borrower. Other entities in the making of the loan, such as escrow
 3
     companies, cannot assist lenders in trying to avoid that requirement by including a mandatory
 4
     arbitration clause in other contractual terms.
 5
                    1.4     Jurisdiction. This adversary proceeding is commenced pursuant to BR                   Formatted: Font: Bold
 6
     7001 et seq and 11 U.S.C. §§ 502 (b)(1) and 506 (d). Although an adversary proceeding                        Formatted: Font: Not Italic
 7
 8   brought as an objection to claim with a counterclaim is a core proceeding under 28 U.S.C. §§

 9   157(b)(2)(B), (K) and/or (O) with non-core matters. Since the issues raised in this adversary
10   proceeding include counterclaims that go beyond resolution of the claim itself, this matter is a
11
     non-core claim that lies beyond the scope of the creditor’s proof of claim. Thus, outside of the
12
     bankruptcy context, many of the claims would not otherwise require adjudication in an Article
13
     III court.Court. See, Stern v. Marshall, 564 U.S. 462, 496–-98 (2011) (finding that a                        Formatted: Font: Italic
14                                                                                                                Formatted: Font color: Auto

15   bankruptcy court had no constitutional power to evaluate the debtor's common law tort                        Formatted: Font: Not Italic, Font color: Auto
                                                                                                                  Formatted: Font color: Auto
16   counterclaims because such claims were beyond the scope of the creditor's proof of claim and                 Formatted: Font color: Auto
                                                                                                                  Formatted: Font color: Auto
17   were claims of a nature that required an Article III court's adjudication).
                                                                                                                  Formatted: Font color: Auto
18          1.5.    Jurisdiction. The Plaintiff here is also requesting a jury trial and does not                 Formatted: Font color: Auto
                                                                                                                  Formatted: Font color: Auto
19
     consent to have the jury mattermatters heard in bankruptcy court and does not waive her rights.              Formatted: Font: Bold
20                                                                                                                Formatted: Font color: Auto
     Granfinanciera, S.A. v. Nordberg, 492 U.S. 33, 41 (1989).                                                    Formatted: Font color: Auto
21
                                                                                                                  Formatted: Indent: First line: 0", No widow/orphan control
            1.6      Venue. Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.
22                                                                                                                Formatted: Font color: Auto
                                                                                                                  Formatted: Font: Bold
23                                              II. FACTS
                                                                                                                  Formatted: Indent: First line: 0", No widow/orphan control,
                                                                                                                  Adjust space between Latin and Asian text, Adjust space
24          2.1     Beverly is a single woman who has lived in King County for most of her life.                  between Asian text and numbers

25   She has one daughter, Alycia, who is currently 34 years old. Alycia’s son Kameron is now 7
26
     years old and been diagnosed as autistic. The two of them have lived with Beverly since 2015.                Formatted: Tab stops: 2.51", Left
27                                                                                 LAW OFFICES OF
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      SECONDTHIRD AMENDED COMPLAINT - 4                                      FACSIMILE: (206) 673-8220
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 1          2.2     She worked for Delta Airlines as flight attendant for 31 years and she retired on

 2   December 1, 2001, after receiving a payout offer from Delta following the September 11
 3
     crashes. She received a monthly pension payment from Delta until she reached the age of 62
 4
     when it was reduced due to her beginning to receive Social Security. She still receives some of
 5
     her pension income along with her Social Security, but her income is not substantial. Between
 6
     the ages of 52 and 62, she also worked jobs at Home Depot, Chicos and the like to earn some
 7
 8   extra money and increase future Social Security earnings.

 9          2.3     In 1998, Beverly had a custom home built for her in Maple Valley, which she
10   sold in 2006 in order to downsize. She made a profit of approximately $210,000.00. She
11
     decided to rent for a whileawhile and in 2007, she purchased her current residence, located at
12
     27834 31st Place South, Auburn, WA 98001-1819 (“Property”) by putting down $150,000.00.
13
     She obtained a traditional mortgage to make the purchase and made the monthly payments
14
15   while living in it until September 2009, when she moved to Florida to be near her closest friend

16   and take a break from the Pacific Northwest. She could not sell the Property at that time

17   without taking a significant loss due to the collapsed housing market. Instead, she rented it out
18   and used those funds to make the mortgage payments.
19
            2.4      Beverly returned to Washington in 2012 because her daughter was talking about
20
     getting married and it was time to come home. She rented a place while continuing to rent out
21
     the Property until August 2015. In September 2015, Alycia, Kameron and Alycia’s husband
22

23   Rick moved in. Later in 2015, Beverly refinanced the Property in order to reduce her interest

24   rate from 6.35% to 4.56%. This resulted in a new mortgage with a balance of $110,000.00 and

25   a monthly payment of $879.00.
26
            2.5     By 2018, Beverly had very significant credit card debt and needed to get it under            Formatted: Tab stops: 2.51", Left
27                                                                               LAW OFFICES OF
                                                                        MELISSA A. HUELSMAN,            P .S .
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      SECONDTHIRD AMENDED COMPLAINT - 5                                     FACSIMILE: (206) 673-8220
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 1   control, so she refinanced the Property again and ended up with a payment of $1,150.00 per

 2   month after she was paid off approximately $50,000.00 in other debt.
 3
            2.6     The reason Beverly was struggling financially and incurring significant credit
 4
     card debt is because of unlawful charges incurred in her name by her daughter Alycia. Even
 5
     after the 2018 refinance, her credit card debt and balance on her car loan was approximately
 6
     $62,000.00, some of which was attributable to fraudulent charges by Alycia on her credit cards
 7
 8   and from Alycia stealing her debit card and making unauthorized withdrawals.

 9          2.7     Alycia’s drug problems began when she fell at work and seriously injured her
10   back. She had unsuccessful back surgeries, including a failed spinal fusion in 2013. As a result,
11
     she became addicted to pain killers, which began to destroy her life. Beverly did not realize the
12
     problems Alycia was having with the drugs until she moved into her home in September 2015.
13
     Once Alycia and her husband moved in with her, they began borrowing money from her for
14
15   legitimate purposes, but it also became apparent that Alycia was also using the money for drugs

16   as well. Beverly found herself devastated by her daughter’s addiction and her efforts to deal

17   with it, but also the financial damage Alycia’s actions continued to cause Beverly.
18          2.8     Compounding Beverly’s stress was the fact that Alycia went to rehab once and a
19
     detox place three times beginning in 2020 and nothing worked to stop her addiction. Alycia
20
     and Rick separated about a year after they moved in and they were fighting over custody of her
21
     grandson Kameron. Beverly helps care for Kameron and he has some serious problems. He was
22

23   born premature with lung damage and has been diagnosed as autistic. All of this just makes the

24   pressures on Beverlyher almost unbearable.

25          2.9     Beverly’s financial problems became exacerbated as Alycia continued to use her
26
     credit and debit cards without permission and in spite of Beverly’s efforts to prevent her from             Formatted: Tab stops: 2.51", Left
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 1   having access to them. She also stole checks and gained access to Beverly’s VENMO account

 2   to steal more money. Alycia kept running up very significant debt in Beverly’s name again and
 3
     again. While Beverly was stressing out in 2019 about how she would ever be able to pay off the
 4
     debt and knowing that it was unlikely she could obtain a traditional refinance, she was attracted
 5
     by a mailing she received from PATCH Defendants. The appeal of the advertisement from
 6
     Defendant PATCH was that the loan could close in two to three weeks withand the promise of
 7
 8   providing a loan to people who could not get traditional loans. Because Beverly was desperate

 9   for a loan that would relieve the financial pressures she was facing, a quick closing without
10   traditional underwriting was very attractive.
11
            2.10    Alycia became aware that Beverly was considering entering into the loan with
12
     PATCH Defendants and was pressuredpressuring her to get it. She was desperate and believed
13
     that no other options that included saving her home existed. She was also about to turn 70 and
14
15   believed she wouldn’t be able to work her way out of her desperate financial situation.

16   Defendant PATCH offered very slick advertising and enticed Beverly into reaching out. Bev

17   called the telephone number on the Defendant PATCH mailer but does not specifically
18   remember with whom she spoke. The PATCH Defendants offered her what she interpreted as a
19
     loan since they were going to give her money to pay off her unsecured debt and she would have
20
     to repay it withplus interest at a later date. This was no ordinary loan, however, and Beverly did
21
     not receive any disclosures in advance of entering into the loan which she could assess or
22

23   analyze in order to understand the loan terms.

24          2.11    While the PATCH Defendants entitlesentitle and describesdescribe their

25   contract as a “Purchase Option Agreement” and repeatedly disavows that it is a loan, the
26
     documents provided by the escrow company, Defendant Lenders Advantage, to Beverly for                       Formatted: Tab stops: 2.51", Left
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 1   signing referred to the documents as a “loan” and the proceeds as “Loan Amount”

 2   approximately118approximately 118 times. In numerous places throughout the documents
 3
     drafted and presented to Beverly for signature by Defendant PATCH, there are references to
 4
     amounts financed, fees and charges that Beverly must re-pay or pay outright that are solely for
 5
     the benefit of the PATCH Defendants and to increase its profit when it obtains repayment of
 6
     the amounts advanced to Beverly, as well as its profit from the transaction.
 7
 8          2.12    PATCH Defendants did not suggest that Beverly should look at other options to

 9   deal with her credit cards including credit counseling, seeking a further traditional refinance,
10   credit counseling, a reverse mortgage, or to discuss her situation with a bankruptcy attorney.
11
     While PATCH is not obligated to have these discussions, it is important in this instance since
12
     their product was being represented as not a loan at an effort in inducing her to choose it,
13
     instead of the other options. In fact, Beverly does not recall any of the discussions she had with
14
15   PATCH Defendants wherein anyone told her she had the right to have the loan documents

16   reviewed by an attorney. She has now been made aware that the documents she signed

17   contained that language, but she has no memory of seeing it.
18          2.13    Most importantly, Beverly did NOT receive the loan disclosures required under
19
     federal and state lending laws in advance of the loan signing. Instead, she was provided with
20
     alleged summaries of the documentation that no layperson would ever be able to actually
21
     understand and certainly no layperson would ever be able to understand the true cost associated
22

23   with the making of this loan, nor of the risk of loss of homeownership that is very real given the

24   outrageous terms. 12 C.F.R. § 1024.2(b) defines a “federally regulated mortgage loan” as

25   follows:
26
            Federally related mortgage loan means:                                                                Formatted: Tab stops: 2.51", Left
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 1
            (1) Any loan (other than temporary financing, such as a construction loan):
 2          (i) That is secured by a first or subordinate lien on residential real property,
            including a refinancing of any secured loan on residential real property, upon
 3
            which there is either:
 4          (A) Located or, following settlement, will be constructed using proceeds of the
            loan, a structure or structures designed principally for occupancy of from one to
 5          four families (including individual units of condominiums and cooperatives and
            including any related interests, such as a share in the cooperative or right to
 6          occupancy of the unit);
            ....
 7
 8   12 C.F.R. § 1024.2(b). Ms. Cary’s loan meets that definition.

 9          2.14    Under federal law, creditors may not generally exclude charges from the
10   disclosed finance charge that are payable by the consumer incident to the extension of credit as
11
     required by 15 U.S.C. § 1605 and Regulation Z § 1026.4. If the creditor fails to include such a
12
     charge, it improperly discloses the finance charge in violation of 15 U.S.C. § 1638(a)(3) and
13
     Regulation Z § 1026.18(d). If the PATCH Defendants had actually calculated the annual
14
15   percentage rate (APR) and disclosed it in advance of the making of the loan, as required by the

16   Truth in Lending Act, the rate would have been based upon improperly calculated and

17   undisclosed finance charges and an overstated amount financed in violation of 15 U.S.C. §
18   1606, Regulation Z § 1026.22. A creditor also unlawfully understates the APR in violation of
19
     15 U.S.C. § 1638(a)(4) and Regulation Z § 1026.18(e). Regulation Z defines the term
20
     “finance charge” as “the cost of consumer credit.” 12 CFR § 1026.4 (2004).
21
            2.15    The PATCH Defendants did not comply at all with any of the TILA provisions
22

23   regarding advance disclosure of the loan terms in advance of the loan signing. This also

24   violated the Washington Consumer Loan Act which incorporated TILA requirements into its

25   language.
26
            2.16    The PATCH Defendants are covered by TILA loan disclosure requirements                       Formatted: Tab stops: 2.51", Left
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 1   because they make more than five (5) loans per year. The PATCH Defendants were required to

 2   provide Ms. Cary with the Loan Estimate within three business days of the receipt of the
 3
     consumer’s loan application. 12 C.F.R. § 1026.19(e)(1). That Estimate must contain a good
 4
     faith estimate of credit costs and transaction terms. If any information necessary for an accurate
 5
     disclosure is unknown, the creditor must make the disclosure based on the best information
 6
     reasonably available at the time the disclosure is provided to the consumer and use due
 7
 8   diligence in obtaining the information. 12 C.F.R. § 1026.19(e)(1)(i); Comment 19(e)(1)(i)-1).

 9   The Estimate must be in writing and contain the information prescribed in § 1026.37. The
10   creditor must disclose only the specific information set forth in 12 C.F.R. § 1026.37(a) through
11
     (n), as shown in the CFPB’s form in appendix H-2, consistent with 12 C.F.R. § 1026.37(o).
12
            2.17    Delivery must satisfy the timing and method of delivery requirements. The
13
     creditor is responsible for delivering the Loan Estimate or placing it in the mail no later than
14
15   the third business day after receiving the application. 12 C.F.R. § 1026.19(e)(1)(iii)). The

16   PATCH Defendants were required to use form H-24, promulgated by the CFPB. 12 C.F.R. §

17   1026.37(o)(3)(i). PATCH Defendants did not make any disclosures within three business days
18   of Ms. Cary’s application or at all, nor did they use form H-24.
19
            2.18    Rather than providing Beverly with standard loan terms which complied with
20
     federal and state lending laws, Thethe PATCH Defendants demanded that she re-pay the loan
21
     with a percentage of her home’s equity through a complex labyrinth of loan terms that no
22

23   average consumer and even most experienced lawyers would be able to follow and understand,

24   let alone calculate the interest rate, repayment requirements, etc. The Agreement also included

25   an initial reduction in the alleged value of the Property and allowed Defendant PATCH to
26
     exclusively control the process of determining the value of the Property throughout the history              Formatted: Tab stops: 2.51", Left
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 1   of the transaction.

 2          2.19     Further, the unlawful loan provided by the PATCH Defendants included a
 3
     requirement, not disclosed in advance and only provided at the loan signing, of a non-
 4
     revocable Power of Attorney (“POA”) giving the PATCH Defendants the power to control the
 5
     entirety of the contractual relationship and stealing from Beverly any control she might have
 6
     over her home, the Property. The very broad powers in the POA includes: (1) allowing
 7
 8   Defendant PATCH to force the sale of Beverly’s home in the event she files a bankruptcy and

 9   if Beverly fails to “maintain”, “preserve” or “repair” the Property according to the unilateral
10   discretion of Defendant PATCH. The definition of “maintain” and “repair” includesinclude
11
     such generic terms as keeping the Property in “good condition”. Again, allowing Defendant
12
     PATCH to decide for itself and without giving Beverly any ability to challenge its decisions,
13
     whether she is or is not keeping the Property in “good condition”, which then permits
14
15   Defendant PATCH to force the sale of her home and repeat its very significant profits that it

16   disavows is interest. Beverly maintains that the amounts over and above what was loaned to her

17   is interest that Defendants seek to mischaracterize in an effort at avoiding federal and state
18   lending laws.
19
            2.20     Believing there were no other options and facing immense financial pressure,
20
     Beverly signed the PATCH Defendants’ documents on or about July 3, 2019, approximately
21
     two months before Defendant PATCH had registered to conduct any business in the State of
22

23   Washington. And as noted above, Defendant PATCH was not then and never has been licensed

24   to engage in consumer lending and to take a lien interest on Beverly’s residence in the State of

25   Washington. That lien is evidenced by a Deed of Trust, which is consistent with Washington’s
26
     requirements that any encumbrance be evidenced by a deed. RCW 64.04.010. The PATCH                           Formatted: Tab stops: 2.51", Left
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 1   Defendants’ Deed of Trust is most certainly an “encumbrance”. Further, a deed of trust in

 2   Washington is treated as a mortgage on real property. RCW 61.24.020. This is irrespective of
 3
     the PATCH Defendants efforts to characterize the transaction as anything other than a
 4
     mortgage loan. See also, RCW 61.24.005(2) which defines “beneficiary” in a deed of trust as
 5
     “the holder of the instrument or document evidencing the obligations secured by the deed of
 6
     trust”. Defendant PATCH has identified itself as the “beneficiary” in the Deed of Trust it
 7
 8   required Beverly to sign.

 9          2.21    Beverly failed to understand the core terms of the loan, which is understandable
10   when one tries to read the complex and Byzantine terms included in the loan documents, such
11
     as Defendant PATCH’s claim of a right to force the sale of her home prior to the end of the 10
12
     year term of the loan; exactly how the repayment amount will be calculated; how much Beverly
13
     would owe six (6) months after the documents were signed; how much would be owed after
14
15   twelve (12) months; how much would be owed after three (3) years, and so on. In return for

16   the approximately $62,000 that Defendant PATCH paid out on the loan to Beverly and on her

17   behalf for her debts, Beverly had no idea that it would demand in excess of $126,000.00 less
18   than three years later, as it has done in her bankruptcy case.
19
            2.22    Among the other absurd terms of the unlawful loan made by the PATCH
20
     Defendants are the following, including terms of the Real Estate Option Agreement, Sections
21
     5.3, 6.1, 6.2, 7 and 19, including subsections and in particular, Section 20, which requires
22

23   Beverly to indemnify Defendant PATCH f or any potential claims while there is no obligation

24   from Defendant PATCH to Beverly:

25                 a.     It allows the “Investor”, Defendant PATCH, to order an appraisal
     without Beverly’s consent and to charge her for it;
26
                   b.     If Beverly disagrees with the appraised amount, she has to pay for                     Formatted: Tab stops: 2.51", Left
27                                                                               LAW OFFICES OF
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 1   another one herself and if she and Defendant PATCH cannot reach an agreement, she is
     required to arbitrate the issue. As noted above, mandatory arbitration in connection with the
 2   making of a residential mortgage loan which is Beverly’s principal dwelling is illegal under
     federal law;
 3
                     c.       The Owner, Beverly, will have a different required “payout” amount
 4   depending upon what sort of transaction she enters into in the future to either refinance the
     Property, sell it to a third party, sell it to Defendant PATCH, etc. These are the sort of uncertain
 5   and differing repayment terms which violate federal and state lending laws;
                     d.       Specific assertions of what Beverly has to repay Defendant PATCH
 6   while simultaneously contending that the transaction is not a loan and that interest is not being
     charged.
 7
 8          2.23    In spite of the PATCH Defendants’ repeated assertions throughout the loan

 9   documents that the transaction is not a loan, the accompanying Deed of Trust confirms that a
10   loanthat is precisely the nature of the transaction in multiple places . Paragraph 7 begins with
11
     the following language:
12
            Default and Foreclosure and Power of Sale.
13
            Upon default by Trustor in the performance of or upon breach by Trustor of any
14          of the rights and obligations that are secured by this Security Instrument as
15          specified above, Beneficiary may declare all sums secured by this Security
            Instrument immediately due and payable and may invoke the power of sale
16          and any other remedies permitted by applicable law, including an action in
            any court of competent jurisdiction to foreclose this Security Instrument as a
17          deed of trust or mortgage.
18   Deed of Trust, Paragraph 7 (emphasis added). The Trustor is Ms. Cary and the Beneficiary is
19
     Defendant PATCH.
20
            2.24    The Deed of Trust at Paragraph 10 also gives the Trustee powers that only the
21
     Beneficiary may demand it exercise, in contravention of its duties under Washington law to
22

23   both the “borrower” (in this instance, the borrower is identified as the “Trustor”) and the

24   “beneficiary”. RCW 61.24.010(4).

25          2.25    At Paragraph 12, the exclusive duty to pay for the services of the Trustee, which
26
     only Defendant PATCH controls and directs, is to be borne by Trustor, Ms. Cary. This too is a                Formatted: Tab stops: 2.51", Left
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 1   blatant violation of Washington law and further evidences just how much the entirety of the

 2   subject loan transaction is one-sided and designed to guarantee that Ms. Cary ends up losing
 3
     her home and all of the equity in it to Defendant PATCH.
 4
            2.26    The Deed of Trust also purports to be a separate lien on personal property that is
 5
     part of the Property, including fixtures, under UCC Article 9. This assertion is absurd and
 6
     contradictory to the provisions of Washington law that makes clear that a deed of trust secures
 7
 8   real property and only real property. Further, “fixtures” are not separate from structures on and

 9   part of real property.
10          2.27    Ms. Cary is not listing all of the onerous and unlawful terms of the loan
11
     agreement herein, but she does assert that every part of the loan documentation violates federal
12
     and state lending laws, as well as Washington real property law. She also did not realize she
13
     had agreed to a mandatory arbitration clause until the loan documents were reviewed with her
14
15   attorneys. Had she not taken action to reject the loan terms and rescind the loan entirely under

16   TILA with the assistance of her attorneys, she would have been bound by all of the loan terms,

17   including the unlawful mandatory arbitration clause.
18          2.28    The PATCH Defendants may have further violated TILA and state law when it
19
     made the unilateral decision to have Ms. Cary’s escrow handled by an escrow agent, Defendant
20
     Lenders Advantage, which may not licensed in Washington state in a manner that allowed it to
21
     act as an escrow agent in Washington state. The escrow paperwork indicated that Defendant
22

23   Lenders Advantage was operating under a California license – not a Washington license. If

24   Defendant Lender’s Advantage is actually just a part of First American Title Insurance and is

25   licensed by the Washington Department of Insurance, then it can act as an escrow agent in
26
     Washington as long as it complies with the Escrow Agent Registration Act, RCW 18.44, et seq.                Formatted: Tab stops: 2.51", Left
27                                                                               LAW OFFICES OF
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 1          2.29    Defendant Lenders Advantage also included a mandatory arbitration agreement

 2   in its escrow paperwork which is prohibited by TILA. That agreement purports to require
 3
     arbitration of any and all disputes relating to the loan terms. By doing so, Defendant Lenders
 4
     Advantage was acting in collusion with the PATCH Defendants to further violate TILA which
 5
     prohibits the use of a mandatory arbitration agreement in connection with a federally regulated
 6
     mortgage loan. 15 U.S.C. § 1639c(e)(3). The PATCH Defendants cannot use a third party to
 7
 8   impose terms upon a borrower that are prohibited by federal law.

 9          2.30    As evidenced by the fact that Beverly had to file a Chapter 13 bankruptcy,
10   obtaining a loan from Defendant PATCH did not solve Beverly’s financial problems. She
11
     found herself back in financial trouble again due to Alycia’s continued addiction problems. She
12
     was required to file this bankruptcy to get some relief, but that was how she discovered the
13
     horrific nature of the loan she obtained from Defendant PATCH when she had to try to figure
14
15   out how much she owed on the loan after a short period of time.

16          2.31    Upon request by Beverly’s bankruptcy counsel, Defendant PATCH provided a

17   “Final Payoff Statement” in the amount of $126,554.00 dated March 5, 2021. Defendant
18   PATCH later filed a Proof of Claim in the amount of $122,500.00 on July 5, 2021. Apparently,
19
     Defendant PATCH cannot even calculate its own payoff calculations using the formula it
20
     created. But these amounts make it very clear that the transaction is a loan and a very expensive
21
     one at that. Defendant PATCH lent Ms. Cary $64,000.00 on or about July 13, 2019 and less
22

23   than two years later, it was demanding almost double that amount in repayment. That

24   constitutes an interest rate of almost 50% per annum.

25          2.32    Defendant PATCH has even gone so far as to try to repeatedly oppose Beverly’s
26
     attempts to get lawyers hired to represent her in challenging the validity of this loan agreement,          Formatted: Tab stops: 2.51", Left
27                                                                               LAW OFFICES OF
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 1   telling this Court that Beverly doesn’t have a right to challenge its unlicensed loan product and

 2   making threats about incurring legal fees in connection with its efforts to prevent her from
 3
     obtaining recovery that Defendant PATCH maintains it can charge her under the loan contract.
 4
     In other words, Defendant PATCH is using its high-priced Silicon Valley lawyers to waste this
 5
     Court’s time by making frivolous arguments and legally unsupported opposition to Ms. Cary’s
 6
     right to challenge the terms of this unlawful loan while preparing to charge her for those
 7
 8   efforts. This is yet another example of the horrific and onerous nature of the contractual terms

 9   of the unlawful loan provided to Beverly by Defendant PATCH, and the predatory nature of
10   Defendant PATCH and all of its affiliated entities, as well as the members of the Defendants’
11
     LLCs.
12
             2.33   Defendant Lenders Advantage has acted in collusion with the other Defendants
13
     to facilitate this unlawful loan by providing escrow services in Washington state when it ismay
14
15   not be licensed to do so, and by insisting that Ms. Cary sign an escrow agreement that includes

16   a mandatory arbitration agreement, in direct contravention of the federal lending laws.

17           2.34   Beverly has incurred damages and been injured in amounts to be determined
18   later by the trier of fact but which include at this stage illegal and unlawful demands for interest
19
     and fees which Defendant PATCH is demanding in violation of Washington law. As outlined
20
     below, a loan made by an unlicensed lender which is secured by a residence does not allow the
21
     lender to recovery any fees or interest on the loan. RCW 31.04.035(2). She has also incurred
22

23   attorneys’ fees and costs relating to having to obtain information from the PATCH Defendants

24   about the alleged loan balance, and to respond to the Proof of Claim and other efforts in her

25   Chapter 13 bankruptcy attributable to the actions of the PATCH Defendants. Further, Ms. Cary
26
     is required to take this action to make certain that the unlawful arbitration clause is not included         Formatted: Tab stops: 2.51", Left
27                                                                                LAW OFFICES OF
                                                                         MELISSA A. HUELSMAN,            P .S .
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 1   in the loan agreement with the PATCH Defendants and to make certain that the PATCH

 2   Defendants cannot enforce the unlawful terms which it has tried to impose upon Ms. Cary, in
 3
     contravention of federal and state lending laws.
 4
                                       III. CAUSES OF ACTION
 5
                                          First Cause of Action
 6                                    Quiet Title and To Determine
                                   The Nature and Extent of Any Lien
 7
                             as Against Defendants PATCH and Patch Homes
 8
            3.1     Ms. Cary incorporates herein by reference as though fully set forth at length
 9
     each and every allegation and statement contained in the paragraphs above, inclusive, of the
10
     Factual Allegations above.
11
12          3.2     Under Washington law, RCW 7.28.010, Ms. Cary has the right to bring this

13   action in order to remove the cloud on title in the form of an unlawful mortgage loan secured
14   by a Deed of Trust that has been generated, created and recorded against the subject real
15
     Property by Defendants PATCH and Patch Homes, in an attempt to gain for in a monetary
16
     recovery against the Property to which it is not entitled, as it is above and beyond any right it
17
     may have for making an unlawful loan.
18
19                                        Second Cause of Action
                              Violation of the Consumer Loan Act, which is a
20                           Per Se Violation of the Consumer Protection Act
                             as Against Defendants PATCH and Patch Homes
21
            3.3     Ms. Cary incorporates herein by reference as though fully set forth at length
22

23   each and every allegation and statement contained in all of the Sections above, inclusive, and

24   the Facts Statements, inclusive, and Paragraphs 3.1 through 3.2 of the Causes of Action above.

25          3.4     The Consumer Loan Act, RCW 31.04.035, requires any person or entity to be
26
     licensed under the CLA if they obtain a lien on a borrower’s residence. Defendants PATCH                     Formatted: Tab stops: 2.51", Left
27                                                                                LAW OFFICES OF
                                                                         MELISSA A. HUELSMAN,            P .S .
                                                                            705 SECOND AVENUE, SUITE 606
                                                                             SEATTLE, WASHINGTON 98104
                                                                             TELEPHONE: (206) 475-4304
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 1   and Patch Homes do not have a license to make a consumer loan and the loan transaction at

 2   issue is a consumer loan secured by Ms. Cary’s residence. A violation of RCW 31.04.035 is a
 3
     per se violation of the Consumer Protection Act and as such, Defendants PATCH and Patch
 4
     Homes are liable to Ms. Cary for their violations of the law, as more particularly described
 5
     above in Facts Section.
 6
            3.5     A per se violation of the CPA under the CLA, RCW 31.04.208, meets the
 7
 8   requirements of (1) unfair or deceptive act, (2) in trade or commerce, and (3) affecting the

 9   public interest. Id. As identified above, Ms. Cary has suffered injuries and incurred damages as
10   a direct result of the actions of Defendants PATCH and Patch Homes in connection with their
11
     violations of the CLA. Therefore, she is entitled to recover damages, treble damages and
12
     reasonable attorney fees and costs pursuant to the statute, as well as permanent injunctive relief
13
     to make certain that other Washington consumers are not similarly harmed by the actions of
14
15   Defendants PATCH and Patch Homes. In addition, Defendants PATCH and Patch Homes may

16   not collect any interest on the loan nor any fees, and if any of these amounts have already been

17   paid by Ms. Cary, either through the loan terms or other means, Defendants PATCH and Patch
18   Homes must refund those amounts to her under Washington law.
19
                                            Third Cause of Action
20                             Violation of the Washington State Usury Statute
                                   Which is a Per Se Violation of the CPA
21                             as Against Defendants PATCH and Patch Homes
22          3.6     Ms. Cary incorporates herein by reference as though fully set forth at length
23
     each and every allegation and statement contained in all of the Sections above, including the
24
     Facts Statements, Paragraphs 2.1 through 2.34, inclusive, and Paragraphs 3.1 through 3.5 of the
25
     Causes of Action above.
26
                                                                                                                 Formatted: Tab stops: 2.51", Left
27                                                                               LAW OFFICES OF
                                                                        MELISSA A. HUELSMAN,            P .S .
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                                                                            SEATTLE, WASHINGTON 98104
                                                                            TELEPHONE: (206) 475-4304
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 1          3.7     Under RCW 19.52.020(1),

 2          (1) Except as provided in subsection (4) of this section, any rate of interest shall
            be legal so long as the rate of interest does not exceed the higher of: (a) Twelve
 3
            percent per annum; or (b) four percentage points above the equivalent coupon
 4          issue yield (as published by the Board of Governors of the Federal Reserve
            System) of the average bill rate for twenty-six week treasury bills as determined
 5          at the first bill market auction conducted during the calendar month immediately
            preceding the later of (i) the establishment of the interest rate by written
 6          agreement of the parties to the contract, or (ii) any adjustment in the interest rate
            in the case of a written agreement permitting an adjustment in the interest rate. No
 7
            person shall directly or indirectly take or receive in money, goods, or things in
 8          action, or in any other way, any greater interest for the loan or forbearance of any
            money, goods, or things in action.
 9
     RCW 19.52.020(1).
10
            3.8    Given the current interest rate published by the Board of Governors of the
11
12   Federal Reserve System is extremely low, the effective cap on interest rates in Washington

13   state is twelve percent (12%) per annum. The loan made to Beverly by Defendants PATCH and
14   Patch Homes carries an interest rate demonstrably in excess of 12 percent per annum based
15
     upon the amounts demanded by the PATCH Defendants in her Chapter 13 bankruptcy.
16
            3.9    RCW 19.52.030 also provides that:
17
            (1) If a greater rate of interest than is allowed by statute shall be contracted for or
18          received or reserved, the contract shall be usurious, but shall not, therefore, be
19          void. If in any action on such contract proof be made that greater rate of interest
            has been directly or indirectly contracted for or taken or reserved, the creditor
20          shall only be entitled to the principal, less the amount of interest accruing thereon
            at the rate contracted for; and if interest shall have been paid, the creditor shall
21          only be entitled to the principal less twice the amount of the interest paid, and less
            the amount of all accrued and unpaid interest; and the debtor shall be entitled to
22          costs and reasonable attorneys' fees plus the amount by which the amount the
23          debtor has paid under the contract exceeds the amount to which the creditor is
            entitled . . .
24
     RCW 19.52.030(1).
25
            3.10   Consistent with the Usury statute, Ms. Cary is entitled to recover twice the
26
                                                                                                                  Formatted: Tab stops: 2.51", Left
27                                                                                LAW OFFICES OF
                                                                         MELISSA A. HUELSMAN,            P .S .
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 1   interest that she has already paid on the loan, which in this case may be that amount which the

 2   PATCH Defendants are demanding in the bankruptcy has already “accrued” and should be
 3
     deducted from the equity in her home. The PATCH Defendants is only entitled to recover the
 4
     principal amount provided to Ms. Cary, less any interest which has been accrued and to recover
 5
     her reasonable attorneys’ fees and costs incurred to date. This will also include the costs she
 6
     was charged in connection with the making of the loan, including the escrow and other fees.
 7
 8          3.11    The Usury statute also allows for a per se CPA violation in the event of a

 9   violation of the statute. RCW 19.52.036. A violation of the statute meets the unfair or deceptive
10   and trade or commerce elements of the CPA.
11
            3.12    Ms. Cary can prove the “public interest” element of a CPA claim which requires
12
     proof that the PATCH Defendants “had the capacity to injure other persons” and “has the
13
     capacity to injure other persons” because it continues in its business as of the writing of this
14
15   Amended Complaint. This is also evidenced by the actions of the PATCH Defendants in Ms.

16   Cary’s bankruptcy wherein they tried to collect a usurious interest amount by filing a Proof of

17   Claim for the same and because of its actions to try to prevent Ms. Cary from being able to hire
18   lawyers to represent her.
19
            3.13    Ms. Cary, acting through her attorneys, is also aware that the PATCH
20
     Defendants continue to do business by advertising online through the Noah website offering the
21
     same products that she was conned into signing.
22

23          3.14    Ms. Cary has suffered injuries and incurred damages as a direct result of the

24   actions of Defendants PATCH and Patch Homes in connection with their violations of the

25   Washington usury statute. Therefore, she is entitled to recover damages, treble damages and
26
     reasonable attorney fees and costs pursuant to the statute, as well as permanent injunctive relief           Formatted: Tab stops: 2.51", Left
27                                                                                LAW OFFICES OF
                                                                         MELISSA A. HUELSMAN,            P .S .
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                                                                             TELEPHONE: (206) 475-4304
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 1   to make certain that other Washington consumers are not similarly harmed by their actions. In

 2   addition, the PATCH Defendants may not collect any interest on the loan nor any fees, and if
 3
     any of these amounts have already been paid by Ms. Cary, either through the loan terms or
 4
     other means, the PATCH Defendants must refund double those amounts to her under
 5
     Washington law.
 6
                                          Fourth Cause of Action
 7
                                 Violation of the Consumer Protection Act
 8                           as Against Defendants PATCH and Patch Homes

 9          3.15    Ms. Cary incorporates herein by reference as though fully set forth at length
10   each and every allegation and statement contained in all of the Sections above, including the
11
     Facts Statements, Paragraphs 2.1 through 2.34, inclusive, and Paragraphs 3.1 through 3.14 of
12
     the Causes of Action above.
13
            3.16    The PATCH Defendants have made numerous misrepresentations about the
14
15   terms of the contract and whether or not it is a loan, whether the terms of the loan are compliant

16   with Washington state law (they are not) and whether the loan can even be made under

17   Washington law, as well as the amounts owing under the loan and whether PATCH Defendants
18   can charge her interest and any fees on the loan, as more particularly described above. These
19
     misrepresentations were unfair and deceptive, and they occurred in trade or commerce, which
20
     is PATCH Defendants’ business model and purpose.
21
            3.17    Ms. Cary maintains, based upon information and belief, that the Defendants
22

23   have engaged in making similar misrepresentations to other Washington homeowners and/or

24   that it had the capacity to do so previously and/or has the capacity to do so in the future.

25          3.18    All of Ms. Cary’s injuries and damages were caused by the PATCH Defendants
26
     and they are directly responsible for those injuries and damages.                                            Formatted: Tab stops: 2.51", Left
27                                                                                LAW OFFICES OF
                                                                         MELISSA A. HUELSMAN,            P .S .
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                                                                             SEATTLE, WASHINGTON 98104
                                                                             TELEPHONE: (206) 475-4304
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 1                                         Fifth Cause of Action
                               Intentional and Negligent Misrepresentation
 2                                    as Against PATCH Defendants
 3
            3.19    Ms. Cary incorporates herein by reference as though fully set forth at length
 4
     each and every allegation and statement contained in all of the Sections above, including the
 5
     Facts Statements, Paragraphs 2.1 through 2.34, inclusive, and Paragraphs 3.1 through 3.18 of
 6
     the Causes of Action above.
 7
 8          3.20    Ms. Cary maintains that there were numerous intentional and/or negligent

 9   misrepresentations made to her by the PATCH Defendants about the terms of the loan, by and
10   through their agents, as described more particularly hereinabove.
11
            3.21    Ms. Cary was particularly harmed by the specific misrepresentations made by
12
     the representatives of PATCH Defendants about the terms of the loan, and intentional
13
     omissions about the loan terms prior to signing since they did not provide her with any
14
15   information about the loan terms in advance, as described more particularly in the Facts section

16   above. Included in the misrepresentations were assertions regarding the fact that it is a loan, in

17   spite of PATCH Defendants’ assertions to the contrary, the correct amount owing at any given
18   time after the loan is made, the amounts that may be demanded in connection with the loan
19
     under Washington law, and the rights to completely control all of the terms of the contract and
20
     whether or not Beverly is complying with the loan terms.
21
            3.22    As a result of the actions of the PATCH Defendants, which is also referenced in
22

23   the loan documents, Beverly has been harassed for monies that she does not owe and now faces

24   the risk of losing her home and all of her equity therein.

25                                        Sixth Cause of Action
                   Violations of the Escrow Registration Agent Act, RCW 18.44, et seq.
26
                           Which Constitutes A Violation of the CPA as Against                                   Formatted: Tab stops: 2.51", Left
27                                                                               LAW OFFICES OF
                                                                         MELISSA A. HUELSMAN,           P .S .
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                                                                            SEATTLE, WASHINGTON 98104
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 1              Defendant First American Title Insurance Company Lenders Advantage

 2          3.23    Ms. Cary incorporates herein by reference as though fully set forth at length
 3
     each and every allegation and statement contained in all of the Sections above, including the
 4
     Facts Statements, Paragraphs 2.1 through 2.34, inclusive, and Paragraphs 3.1 through 3.22 of
 5
     the Causes of Action above.
 6
            3.24    RCW 18.44.011(8) defines who may act as an escrow agent under Washington
 7
 8   law:

 9          "Escrow agent" means any person engaged in the business of performing for
            compensation the duties of the third person referred to in subsection (7) of this
10          section.

11   RCW 18.44.011(8).
12          3.25    RCW 18.44.011(7) describes the business practices which constitute an
13
     “escrow” which is undertaken by an “escrow agent”:
14
            "Escrow" means any transaction, except the acts of a qualified intermediary in
15          facilitating an exchange under section 1031 of the internal revenue code, wherein
            any person or persons, for the purpose of effecting and closing the sale,
16          purchase, exchange, transfer, encumbrance, or lease of real or personal
            property to another person or persons, delivers any written instrument,
17          money, evidence of title to real or personal property, or other thing of value
            to a third person to be held by such third person until the happening of a
18          specified event or the performance of a prescribed condition or conditions,
            when it is then to be delivered by such third person, in compliance with
19          instructions under which he or she is to act, to a grantee, grantor, promisee,
            promisor, obligee, obligor, lessee, lessor, bailee, bailor, or any agent or
20          employee thereof. "Escrow" includes the collection and processing of payments
            and the performance of related services by a third party on seller-financed loans
21          secured by a lien on real or personal property but excludes vessel transfers.

22   RCW 18.44.011(7). Emphasis added.
23          3.26    Defendant Lenders Advantage is an “escrow agent” as defined by RCW
24
     18.44.011(8) and it performed the acts described in RCW 18.44.011(7) in connection with
25
     providing escrow services to Ms. Cary and the PATCH Defendants relating to the loan that is
26
                                                                                                                 Formatted: Tab stops: 2.51", Left
27                                                                               LAW OFFICES OF
                                                                       MELISSA A. HUELSMAN,             P .S .
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 1   the subject of this litigation.

 2           3.27    Violations of theThe Escrow Agent Registration Act, RCW 18.44.301
 3
     includeincludes the following “Prohibited Practices”:
 4
                     It is a violation of this chapter for any escrow agent, controlling person,
 5           officer, designated escrow officer, independent contractor, employee of an escrow
             business, or other person subject to this chapter to:
 6
                    (1) Directly or indirectly employ any scheme, device, or artifice to defraud
 7
            or mislead borrowers or lenders or to defraud any person;
 8                  (2) Directly or indirectly engage in any unfair or deceptive practice
            toward any person;
 9          ....
                    (4) Knowingly make, publish, or disseminate any false, deceptive, or
10   misleading information in the conduct of the business of escrow, or relative to the
     business of escrow or relative to any person engaged therein;
11
            ....
12                  (11) Fail to comply with any requirement of any applicable federal or
            state act including the truth in lending act, 15 U.S.C. Sec. 1601 et seq. and
13          Regulation Z, 12 C.F.R. Sec. 226; the real estate settlement procedures act, 12
            U.S.C. Sec. 2601 et seq. and Regulation X, 24 C.F.R. Sec. 3500; the equal credit
14          opportunity act, 15 U.S.C. Sec. 1691 et seq. and Regulation B, Sec. 202.9, 202.11,
15          and 202.12; Title V, Subtitle A of the financial modernization act of 1999 (known
            as the Gramm-Leach-Bliley act), 12 U.S.C. Secs. 6801-6809; the federal trade
16          commission's privacy rules, 16 C.F.R. Secs. 313-314, mandated by the Gramm-
            Leach-Bliley act; as these acts existed on January 1, 2007, or such subsequent
17          date as may be provided by the department by rule, or any other applicable
            escrow activities covered by the acts;
18          ....
19
     RCW 18.44.301(1), (2), (4), (11). Emphasis added.
20
             3.28    Ms. Cary maintains that Defendant Lenders Advantage in actions more
21
     particularly described above which constituted violations of the Prohibited Practices, RCW
22

23   18.44.301(1), (2), (4) and (11) by engaging in a “scheme, device, or artifice to defraud or

24   mislead borrowers or lenders or to defraud any person” (1); by “directly or indirectly engage in

25   any unfair or deceptive practice toward any person” (2); knowingly make, publish, or
26
     disseminate any false, deceptive, or misleading information in the conduct of the business of               Formatted: Tab stops: 2.51", Left
27                                                                               LAW OFFICES OF
                                                                       MELISSA A. HUELSMAN,             P .S .
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                                                                           SEATTLE, WASHINGTON 98104
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 1   escrow, or relative to the business of escrow or relative to any person engaged therein (4); and

 2   fail to comply with any requirement of any applicable federal or state act including the
 3
     truthTruth in lending actLending Act, 15 U.S.C. Sec.§ 1601 et seq. and Regulation Z, 12                      Formatted: Font: Italic

 4
     C.F.R. Sec.§ 226 (11) when it consummated an obviously unlawful loan that included
 5
     paperwork which expressly disavowed being a loan and which obviously violated TILA in
 6
     numerous ways, including the fact that none of the documents required by TILA were included
 7
 8   in the loan documents.

 9          3.29    Defendant Lenders Advantage violated the Washington Consumer Protection
10   Act”("CPA"), RCW 19.86, et seq., in connection with its actions during its handling of the
11
     escrow for Defendant PATCH and Ms. Cary. Those actions are identified as follows:
12
            a.      It engaged in “unfair or deceptive acts or practices in the conduct of any trade or
13
     commerce.” RCW 19.86.020. Those “unfair” and “deceptive” acts included the inclusion of the
14
15   Arbitration Agreement in the Escrow General Instructions, which required that Ms. Cary

16   pursue “all disputes and claims arising out of or relating to this Escrow must be resolved

17   by arbitration.”
18          19. AGREEMENT TO ARBITRATE.
19          (a) Except as indicated in the paragraph regarding CONFLICTING
            INSTRUCTIONS & RELATED DISPUTES, above, all disputes and claims
20          arising out of or relating to this Escrow must be resolved by arbitration.
            Notwithstanding the foregoing, any party may bring an individual action in small
21          claims court. Any dispute as to the arbitrability of claims or the scope or
            enforceability of this arbitration provision, or as to the interpretation of paragraph
22          (c) below, is for the court to decide. This Escrow evidences a transaction in
23          interstate commerce, and thus the Federal Arbitration Act governs the
            interpretation and enforcement of this provision. This arbitration provision shall
24          survive termination of the Escrow.

25   Escrow General Instructions, Paragraph 19. (Emphasis added.) Given the broad language of the
26
     AGREEMENT TO ARBITRATE that Defendant Lender’s Advantage required Ms. Cary to                                Formatted: Tab stops: 2.51", Left
27                                                                                LAW OFFICES OF
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 1   sign, it applies to any of her challenges to the entirety of the transaction with the PATCH

 2   Defendants, as well as the escrow agent.
 3
             b.     The Truth in Lending Act (TILA) prohibits the use of an arbitration clause in
 4
     connection with mortgage lending secured by the borrower’s primary dwelling. 15 U.S.C. §
 5
     1639c(e)(3). Thus, Defendant Lender’s Advantage was actively engaged with the PATCH
 6
     Defendants in assisting them in violating those provisions of TILA and imposing an arbitration
 7
 8   clause upon Ms. Cary that is prohibited by federal law in this sort of lending transaction. These

 9   actions constituted an unfair and deceptive act.
10           c.     Defendant Lender’s Advantage also participated in an escrow for a transaction
11
     that purported not to be a loan, but which it treated as a loan for purposes of the escrow,
12
     including the execution of a Deed of Trust which is defined in Black’s Law Dictionary as:
13
             An instrument in use in many states, taking the place and serving the uses of a
14           common-law mortgage, by which the legal title to real property is placed in one or
15           more trustees, to secure the repayment of a sum of money or the performance
             of other conditions.
16
     Black’s Law Dictionary. (Emphasis added.) This also constituted an “unfair” and “deceptive”
17
     act, as well as publication and/or dissemination of “false” and “misleading” information to Ms.
18
19   Cary.

20           d.     Defendant Lender’s Advantage engaged in that action in connection with its

21   business of providing escrow services, which constitutes “trade or commerce”. Paragraph
22   19(a), “This Escrow evidences a transaction in interstate commerce . . .”
23
             d.     Defendant Lender’s Advantage’s actions had and has “the capacity to injure
24
     other persons.” RCW 19.86.093(c). This is demonstrated by way of the fact that the document
25
     signed by Ms. Cary is titled “Escrow General Instructions”. It is Defendant Lender’s
26
                                                                                                                 Formatted: Tab stops: 2.51", Left
27                                                                               LAW OFFICES OF
                                                                        MELISSA A. HUELSMAN,            P .S .
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 1   Advantage’s “General Instructions” utilized by at least a significant portion of their escrow

 2   customers. Discovery in this case will confirm how often it has been used on others to impose
 3
     upon them an arbitration clause that violates TILA.
 4
            e.      The actions of Defendant Lender’s Advantage caused Ms. Cary damages in the
 5
     form of participating in and helping facilitate the inducement to get her to enter into a loan
 6
     transaction that was nothing like what it purported to be and without any of the required loan
 7
 8   disclosures mandated under federal and state law. If the PATCH loan is held to be enforceable,

 9   it would result in Ms. Cary likely losing most, if not all, of the equity in her home, and would
10   allow a third party to have complete control of all decisions to be made regarding her home for
11
     the entirety of the loan contract.
12
            f.      Defendant Lender’s Advantage has also caused Ms. Cary injury in the form of
13
     having to pay her bankruptcy lawyer to deal with PATCH’s demands for payment of
14
15   approximately double the amount it loaned to Ms. Cary after only two years through the filing

16   of a Proof of Claim. She was also injured by the PATCH Defendants making that demand,

17   even though she has not yet been required to pay any of it.
18          g.      Defendant Lender’s Advantage helped cause the damages and injuries suffered
19
     by Ms. Cary through its intentional actions which were always designed to assist only the
20
     PATCH Defendants and were done either with the intent to harm Ms. Cary or with a callous
21
     and intentional disregard of the harm that would come to an unsophisticated borrower entering
22

23   into an exceedingly complex loan transaction that purported to not even be a loan.

24          3.30    For all of the above reasons and based upon its actions, Ms. Cary maintains that

25   Defendant Lender’s Advantage is liable to her for violations of the Consumer Protection Act,
26
     RCW 19.86, et seq.                                                                                           Formatted: Tab stops: 2.51", Left
27                                                                                LAW OFFICES OF
                                                                        MELISSA A. HUELSMAN,             P .S .
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 1                                      Seventh Cause of Action
                    Violations of the Truth in Lending Act, 15 U.S.C. § 1206, et seq.
 2                                    Against PATCH Defendants
 3
            3.2931 Ms. Cary incorporates herein by reference as though fully set forth at length
 4
     each and every allegation and statement contained in all of the Sections above, including the
 5
     Facts Statements, Paragraphs 2.1 through 2.34, inclusive, and Paragraphs 3.1 through 3.2830 of
 6
     the Causes of Action above.
 7
 8          3.3032 The PATCH Defendants are required by TILA to make numerous loan

 9   disclosure because they make more than five (5) loans per year and because the loan met the
10   definition of a “federally related mortgage loan”, which included:
11
            (1) Any loan (other than temporary financing, such as a construction loan):
12                  (i) That is secured by a first or subordinate lien on residential real
            property, including a refinancing of any secured loan on residential real property,
13          upon which there is either:
                            (A) Located or, following settlement, will be constructed using
14          proceeds of the loan, a structure or structures designed principally for occupancy
15          of from one to four families (including individual units of condominiums and
            cooperatives and including any related interests, such as a share in the cooperative
16          or right to occupancy of the unit);
            ....
17
            3.3133 For that reason, the PATCH Defendants were required to provide Ms. Cary with
18
19   a Loan Estimate within three business days of the receipt of the consumer’s loan application.

20   12 C.F.R. § 1026.19(e)(1). It was required to contain a good faith estimate of credit costs and

21   transaction terms, based upon the best information reasonably available at the time the
22   disclosure is provided to the consumer and use due diligence in obtaining the information. 12
23
     C.F.R. § 1026.19(e)(1)(i); Comment 19(e)(1)(i)-1). The Estimate was required to be in writing
24
     and contain the information prescribed in 12 C.F.R. § 1026.37. The creditor must disclose only
25
     the specific information set forth in 12 C.F.R. § 1026.37(a) through (n), as shown in the
26
                                                                                                                Formatted: Tab stops: 2.51", Left
27                                                                              LAW OFFICES OF
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      SECONDTHIRD AMENDED COMPLAINT - 28                                   FACSIMILE: (206) 673-8220
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 1   CFPB’s form in appendix H-2, consistent with 12 C.F.R. § 1026.37(o).

 2           3.3234 The creditor is responsible under TILA for delivering the Loan Estimate or
 3
     placing it in the mail no later than the third business day after receiving the application. 12
 4
     C.F.R. § 1026.19(e)(1)(iii)). The PATCH Defendants were required to use form H-24,
 5
     promulgated by the CFPB. 12 C.F.R. § 1026.37(o)(3)(i). PATCH Defendants did not make any
 6
     disclosures within three business days of Ms. Cary’s application or at all, nor did they use form
 7
 8   H-24.

 9           3.3335 Rather than providing Beverly with standard loan terms which complied with
10   federal and state lending laws, The PATCH Defendants demanded that she re-pay the loan with
11
     a percentage of her home’s equity through a complex labyrinth of loan terms that no average
12
     consumer and even most experienced lawyers would be able to follow and understand, let alone
13
     calculate the interest rate, repayment requirements, etc. The Agreement also included an initial
14
15   reduction in the alleged value of the Property and allowed Defendant PATCH to exclusively

16   control the process of determining the value of the Property throughout the history of the

17   transaction.
18           3.3436 Based upon these violations of TILA, Ms. Cary is entitled to rescind the loan
19
     and she seeks that recovery from the Court. 12 C.F.R. § 1026.23(a)(3). Simultaneous with the
20
     filing of this Third Amended Complaint, Ms. Cary will also send a Rescission Letter as
21
     contemplated by the statute.
22

23                                       Eighth Cause of Action
                     Violations of the Truth in Lending Act, 15 U.S.C. § 1639c(e)(3)
24                                     Against PATCH Defendants

25           3.3537 Ms. Cary incorporates herein by reference as though fully set forth at length
26
     each and every allegation and statement contained in all of the Sections above, including the                 Formatted: Tab stops: 2.51", Left
27                                                                                 LAW OFFICES OF
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 1   Facts Statements, Paragraphs 2.1 through 2.34, inclusive, and Paragraphs 3.1 through 3.3436 of

 2   the Causes of Action above.
 3
            3.3638 TILA, at 15 U.S.C. § 1639c(e)(3), prohibits the imposition of an arbitration
 4
     clause on any mortgage loan which is secured by the borrower’s primary dwelling:
 5
            (e) Arbitration
 6
                    (1) In general
 7
 8                  No residential mortgage loan and no extension of credit under an open
                    end consumer credit plan secured by the principal dwelling of the
 9                  consumer may include terms which require arbitration or any other
                    nonjudicial procedure as the method for resolving any controversy or
10                  settling any claims arising out of the transaction.
11
                    ....
12
            (3) No waiver of statutory cause of action
13
                    No provision of any residential mortgage loan or of any extension of
14                  credit under an open end consumer credit plan secured by the principal
15                  dwelling of the consumer, and no other agreement between the consumer
                    and the creditor relating to the residential mortgage loan or extension of
16                  credit referred to in paragraph (1), shall be applied or interpreted so as to
                    bar a consumer from bringing an action in an appropriate district court of
17                  the United States, or any other court of competent jurisdiction, pursuant
                    to section 1640 of this title or any other provision of law, for damages or
18                  other relief in connection with any alleged violation of this section, any
19                  other provision of this subchapter, or any other Federal law.

20   15 U.S.C. § 1639c(e)(3).

21          3.3739 The PATCH Defendants acted in collusion with Defendant Lenders Advantage
22   and chose to use that entity as the escrow agent in this transaction and allowed it to include a
23
     mandatory arbitration clause in the closing documents which sought to impose such terms on
24
     the entirety of the loan transaction, in direct contravention of federal law.
25
            3.3840 The PATCH Defendants are charged with knowing the federal and state lending
26
                                                                                                                   Formatted: Tab stops: 2.51", Left
27                                                                                   LAW OFFICES OF
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 1   laws which applied to this transaction and their intentional actions in violating all of those

 2   lending laws is evidenced in the entirety of the transaction, including the repeated assertions in
 3
     the loan documents themselves that the transaction was not a loan.
 4
             3.3941 The PATCH Defendants therefore violated federal law by including a
 5
     mandatory arbitration agreement in the subject loan terms.
 6
     //
 7
 8                                        Ninth Cause of Action
                       Violations of the CPA Based Upon Unlawful Imposition
 9                          Of a Mandatory Arbitration Clause on Plaintiff
                                 In Violation of Federal Law As Against
10               Defendant First American Title Insurance Company Lenders Advantage
                                       And The Patch Defendants
11
12           3.4042 Ms. Cary incorporates herein by reference as though fully set forth at length

13   each and every allegation and statement contained in all of the Sections above, including the
14   Facts Statements, Paragraphs 2.1 through 2.34, inclusive, and Paragraphs 3.1 through 3.3941 of
15
     the Causes of Action above.
16
             3.4143 As noted above, Defendant Lenders Advantage, acting in collusion with the
17
     PATCH Defendants, included an arbitration clause in the escrow documents which is designed
18
19   to bind Ms. Cary to mandatory arbitration in connection with the making of the subject loan, in

20   direct violation of the requirements of federal law. The Truth in Lending Act, 15 U.S.C. §

21   1639c(e) prohibits the use of a binding arbitration clause in connection with the making of a
22   residential mortgage loan when it is the borrower’s principal dwelling.
23
             3.4244 Defendant Lenders Advantage is licensed as an escrow agent in the State of
24
     California, as noted on its escrow documents and it may well be licensed to act as an escrow
25
     agent in Washington if it is really the First American Title Company which is licensed in
26
                                                                                                                  Formatted: Tab stops: 2.51", Left
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 1   Washington by the Office of Insurance Commissioner. As such, it was required to adhere to

 2   TILA and other federal lending laws under Washington law in connection with its work as an
 3
     “escrow agent” in Washington state. RCW 18.44.301(11). It is therefore charged with knowing
 4
     the corresponding federal and state lending laws which regulate the making of federally
 5
     regulated mortgage loans as well as knowledge of Washington escrow laws. It either has
 6
     intentionally ignored TILA and federal lending laws or it has chosen not to know them and to
 7
 8   act in collusion with lenders such as the PATCH Defendants to violate those laws. Either way,

 9   it violatedacted in violation of the requirements of TILA and the Washington Escrow Agent
10   Registration Act.
11
            3.4345 The PATCH Defendants also are charged with knowing federal and state
12
     lending laws, which include TILA and the express prohibition on the imposition of a
13
     mandatory arbitration clause. It chose to intentionally ignore this prohibition, craft loan
14
15   documents that disavow being a loan and colluding with Defendant Lenders Advantage to

16   impose upon Ms. Cary an unlawful mandatory arbitration clause.

17          3.4446 The PATCH Defendants have made numerous misrepresentations about the
18   terms of the contract and whether or not it is a loan, as described more completely above. In
19
     addition, it further engaged in unfair and deceptive actions by choosing an escrow agent which
20
     imposed upon Ms. Cary in the escrow documents a mandatory arbitration agreement which was
21
     prohibited by federal law.
22

23          3.4547 The PATCH Defendants and Defendant Lenders Advantage engaged in these

24   unfair and deceptive actions in connection with trade or commerce, the operation of their

25   respective businesses, and they had previously when they took these actions the capacity to
26
     impose an unlawful arbitration agreement upon borrowers in the future and they continue to                   Formatted: Tab stops: 2.51", Left
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 1   have the capacity to impose an unlawful arbitration agreement upon other borrowers at this

 2   time. RCW 19.86.020; 19.86.093(c).
 3
             3.4648 Ms. Cary was injured by way of the imposition of this unlawful arbitration
 4
     agreement because she had to retain and consult with attorneys to make certain that she did not
 5
     become required to participate in this unlawful arbitration agreement and to arbitrate her claims
 6
     against the Defendants.
 7
 8           3.4749 All of Ms. Cary’s injuries and damages were caused by the PATCH Defendants

 9   and Defendant Lenders Advantage and they are directly responsible for those injuries and
10   damages.
11
                                         Tenth Cause of Action                                                   Formatted: Tab stops: Not at -1" + -0.5" + 0" + 2" +
                                                                                                                 2.5" + 3" + 3.5" + 4" + 4.5" + 5" + 5.5" + 6" + 6.5"
12                                         Objection to Claim
                                       Against PATCH Defendants
13
             3.4850 Ms. Cary incorporates herein by reference as though fully set forth at length
14
15   each and every allegation and statement contained in all of the Sections above, including the

16   Facts Statements, Paragraphs 2.1 through 2.34, inclusive, and Paragraphs 3.1 through 3.4549 of

17   the Causes of Action above.
18           3.4951 Incorporating the prior factual allegations and nine causes of action pled in this
19
     Complaint, Defendant PATCH’s proofProof of claimClaim as identified in claim number 11,
20
     Exhibit A, should be disallowed as a secured claim. Any fees, accrued interest (disguised as an
21
     equity interest or otherwise), should be also disallowed. Should the court disallow this claim in
22

23   its entirety.

24                                       PRAYER FOR RELIEF

25           WHEREFORE, Plaintiff Ms. Cary prays for the following relief:
26
             1.      Judgment against all of the Defendants in an amount to be proven at trial for               Formatted: Tab stops: 2.51", Left
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 1   recovery of her out of pocket damages, as well as the value of the injuries she has suffered;

 2          2.      Treble damages up to $25,000.00 for each of Ms. Cary’s categories of damage
 3
     and injury as provided under the CPA;
 4
            3.      Any statutory damages available under federal or state lending laws, including
 5
     recovery of costs Ms. Cary has already paid through the escrow process;
 6
            4.      An award of attorneys’ fees and costs in an amount to be proven at trial;
 7
 8          5.      Disallow Claim 11 in its entirety.

 9          6.      Quiet Title in favor of Debtor, against the PATCH Defendants;
10          7.      Rescind the loan made by the PATCH Defendants;
11
            8.      For injunctive relief against all of the Defendants to prevent any other
12
     Washington consumers from being harmed by the unlawful, unlicensed business activities of
13
     all of the Defendants; and
14
15          9.      For such other and further relief as the Court deems just and proper.

16   DATED this 4th____ day of March June, 2022.

17                                                   LAW OFFICES OF MELISSA A.
                                                     HUELSMAN, P.S.
18
19                                                   By: /s/Melissa A. Huelsman
                                                       Melissa A. Huelsman, WSBA #30935
20                                                     Attorney for Plaintiff
                                                       705 2nd Ave, Ste 606
21                                                     Seattle, WA 98104-1715
                                                       Tel# 206-475-4504
22                                                     mhuelsman@predatorylending law.com
23                                                   LAW OFFICES OF MARK MCCLURE, PS
24
                                                     By: /s/Mark McClure
25                                                     Mark McClure, WSBA #24393
26                                                     Attorney for Plaintiff
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 4
                                    By: /s/ Christina L. Henry
 5                                    Christina L. Henry, WSBA #31273
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